  Case 1:23-cv-01599-ABJ-ZMF   Document 286   Filed 11/04/24   Page 1 of 54




                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


SECURITIES AND EXCHANGE
COMMISSION,

                Plaintiff,

     v.                                No. 1:23-cv-01599-ABJ-ZMF

BINANCE HOLDINGS LIMITED,              Oral Argument Requested
BAM TRADING SERVICES INC.,
BAM MANAGEMENT US HOLDINGS
INC., AND CHANGPENG ZHAO,

                Defendants.



               DEFENDANTS BAM TRADING SERVICES INC.
              AND BAM MANAGEMENT US HOLDINGS INC.’S
              MOTION TO DISMISS AMENDED COMPLAINT
       Case 1:23-cv-01599-ABJ-ZMF                           Document 286                  Filed 11/04/24                Page 2 of 54




                                                   TABLE OF CONTENTS

PRELIMINARY STATEMENT .................................................................................................... 1

BACKGROUND ............................................................................................................................ 4

LEGAL STANDARD..................................................................................................................... 6

ARGUMENT .................................................................................................................................. 7

I.        The SEC Failed to Plead Any Secondary Sales of Crypto Assets Were Sold as an
          Investment of Money in a Common Enterprise. ................................................................. 7

          A.         Howey and This Circuit Require Pooling of Investment Funds. ............................ 7

          B.         The Court Should Reject the SEC’s Latest Attempt to Bring Commodities
                     Transactions under the Securities Laws by Ignoring or Replacing the “Pooling”
                     Requirement. ........................................................................................................... 9

                     1.         Economic Interdependence Does Not Establish Pooling............................ 9

                     2.         Pooling by Primary Purchasers Does Not Establish Pooling by
                                Secondary Purchasers. .............................................................................. 11

          C.         The SEC’s “New” Theory Is the Same One This Court Rejected. ....................... 14

                     1.         The SEC’s Theory Has No Limiting Principle. ........................................ 15

                     2.         The SEC’s Theory Still Encroaches on CFTC Jurisdiction. ..................... 17

          D.         The SEC Cannot Rely on Vertical Commonality to Save Its Claims. .................. 21

II.       The SEC Failed to Plead the Expectation of Profits Due to the Efforts of Others. .......... 23

          A.         No Promises Were Made to Purchasers of Crypto Assets on BAM’s Platform. .. 23

          B.         The SEC Failed to Allege Sufficient Post-Sale Activities. ................................... 26

          C.         The SEC Failed to Allege Expectations of Profits Resulted Predominantly
                     from the Efforts of Others. .................................................................................... 28

III.      Individual Allegations as to Each Crypto Asset Fail. ....................................................... 29

          A.         SOL ....................................................................................................................... 30

          B.         ADA ...................................................................................................................... 31

          C.         MATIC .................................................................................................................. 32


                                                                        i
      Case 1:23-cv-01599-ABJ-ZMF                            Document 286                   Filed 11/04/24               Page 3 of 54




          D.         FIL......................................................................................................................... 34

          E.         ATOM ................................................................................................................... 35

          F.         SAND.................................................................................................................... 36

          G.         MANA .................................................................................................................. 37

          H.         ALGO ................................................................................................................... 37

          I.         AXS....................................................................................................................... 39

          J.         COTI ..................................................................................................................... 39

          K.         BNB ...................................................................................................................... 40

          L.         The SEC Failed to Allege Secondary Sales Here Constituted Investment
                     Contracts. .............................................................................................................. 43

IV.       THE SEC FAILS TO STATE REGISTRATION CLAIMS AGAINST BAM. ............... 43

CONCLUSION ............................................................................................................................. 45




                                                                       ii
     Case 1:23-cv-01599-ABJ-ZMF                              Document 286                 Filed 11/04/24               Page 4 of 54




                                                 TABLE OF AUTHORITIES

                                                                                                                                      Page(s)

Cases

Am. Bankers Ass’n v. SEC,
   804 F.2d 739 (D.C. Cir. 1986) ...................................................................................................6

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ...................................................................................................................6

Bell Atl. Corp. v. Twombly,
    550 U.S. 544 (2007) ...................................................................................................................6

Cerebral Palsy Ass’n of Nassau County, Inc. v. Cochran,
   2021 WL 1037865 (D.D.C. Feb. 10, 2021) .............................................................................45

Coinbase Inc. v. SEC,
   No. 23-3202 (3rd Cir. Sept. 24, 2024) .................................................................................3, 11

Davis v. Billington,
   681 F.3d 377 (D.C. Cir. 2012) ...................................................................................................6

Deckebach v. La Vida Charters, Inc. of Fla.,
   867 F.2d 278 (6th Cir. 1989) ...................................................................................................22

Gary Plastic Packaging Corp. v. Merrill Lynch, Pierce, Fenner & Smith, Inc.,
   756 F.2d 230 (2d Cir. 1985).....................................................................................................11

Happy Inv. Grp. v. Lakeworld Props., Inc.,
   396 F. Supp. 175 (N.D. Cal. 1975) ....................................................................................24, 42

Hocking v. Dubois,
   885 F.2d 1449 (9th Cir. 1989) .................................................................................................11

In re BitConnect Sec. Litig.,
    2019 WL 9104318 (S.D. Fla. Aug. 23, 2019)..........................................................................11

In re Ripple Labs.,
    2024 WL 3074379 (N.D. Cal. June 20, 2024) .........................................................................11

In the Matter of CQC Impact Investors LLC,
    3-22224 ....................................................................................................................................20

In the Matter of eToro USA LLC,
    (3-22106, September 12, 2024) ...............................................................................................16


                                                                       iii
     Case 1:23-cv-01599-ABJ-ZMF                             Document 286                  Filed 11/04/24              Page 5 of 54




In the Matter of Jason Steele,
    CFTC 24-36 (September 30, 2024) ...................................................................................18, 20

Kaempe v. Myers,
   367 F.3d 958 (D.C. Cir. 2004) ...................................................................................................5

Kowal v. MCI Commc’ns Corp.,
  16 F.3d 1271 (D.C. Cir. 1994) ...................................................................................................6

Loper Bright Enterprises v. Raimondo,
   144 S. Ct. 2244 (2024) ...........................................................................................................6, 7

Meredith v. Conticommodity Servs., Inc.,
   No. 79-1282, 1980 WL 1465 (D.D.C. Nov. 24, 1980) ............................................................21

Noa v. Key Futures, Inc.,
   638 F.2d 77 (1980) ...................................................................................................................29

Patrick v. Dist. of Columbia,
   126 F. Supp. 3d 132 (D.D.C. 2015) ...........................................................................................5

Patterson v. Jump Trading LLC,
   710 F. Supp. 3d 692 (N.D. Cal. 2024) .....................................................................................11

Salameh v. Tarsadia Hotel,
   726 F.3d 1124 (9th Cir. 2013) .................................................................................................26

Salcer v. Merrill Lynch, Pierce, Fenner & Smith Inc.,
   682 F.2d 459 (3d Cir. 1982).....................................................................................................22

SEC v. Aqua-Sonic Prods. Corp.,
   524 F. Supp. 876 (S.D.N.Y. 1981)...........................................................................................42

SEC v. Banner Fund,
   211 F.3d 602 (D.C. Cir. 2000) ......................................................................................... passim

SEC v. Binance Holdings Ltd.,
   2024 WL 3225974 (D.D.C. June 28, 2024) .............................................................................34

SEC v. Int’l Loan Network, Inc.,
   770 F. Supp. 678 (D.D.C. 1991), aff'd 968 F.2d 1304, 1307-08 (D.C. Cir.
   1992) ..................................................................................................................................22, 23

SEC v. Kik Interactive, Inc.,
   492 F. Supp. 3d 169 (D. Conn. 2020) ................................................................................10, 24

SEC v. Life Partners, Inc.,
   102 F.3d 587 (D.C. Cir. 1996) .................................................................................1, 21, 23, 27

                                                                       iv
     Case 1:23-cv-01599-ABJ-ZMF                             Document 286                  Filed 11/04/24              Page 6 of 54




SEC v. Life Partners, Inc.,
   87 F.3d 536 (D.C. Cir. 1996) ........................................................................................... passim

SEC v. Life Partners, Inc.,
   898 F. Supp. 14 (D.D.C. 1995), rev’d on other grounds, 87 F.3d 536 (D.C.
   Cir. 1996) .................................................................................................................................21

SEC v. Mut. Benefits Corp.,
   408 F.3d 737 (11th Cir. 2005) .................................................................................................29

SEC v. Parkersburg Wireless LLC,
   991 F. Supp. 6 (D.D.C. 1997) ............................................................................................21, 24

SEC v. Payward, Inc., et al.,
   23-cv-06003-WHO (N.D. Cal. August 23, 2024) ....................................................................11

SEC v. Ripple Labs,
   682 F. Supp. 3d 308, 328-29 (S.D.N.Y. 2023) ..........................................................7, 8, 10, 13

SEC v. Ripple Labs, Inc.
   682 F. Supp. 3d 308 (S.D.N.Y. 2023)..............................................................................7, 8, 24

SEC v. RPM Int’l, Inc.,
   282 F. Supp. 3d 1 (D.D.C. 2017) ...........................................................................................4, 6

SEC v. Telegram,
   448 F. Supp. 3d 352 (S.D.N.Y. 2020)..........................................................................11, 23, 29

SEC v. Terraform Labs PTE, Ltd.,
   684 F. Supp. 3d 170 (S.D.N.Y. 2023)................................................................................11, 12

SEC v. W.J. Howey Co.,
   328 U.S. 293 (1946) ......................................................................................................... passim

Sickle v. Torres Advanced Enter. Sols., LLC,
    884 F.3d 338 (D.C. Cir. 2018) .................................................................................................28

Sinva, Inc. v. Merrill, Lynch, Pierce, Fenner & Smith, Inc.,
   253 F. Supp. 359 (S.D.N.Y. 1966)...........................................................................................23

Timmreck v. Munn,
   433 F. Supp. 396 (N.D. Ill. 1977) ............................................................................................24

United Hous. Found., Inc. v. Forman,
   421 U.S. 837 (1975) .................................................................................................................23

United States v. Bowdoin,
   770 F. Supp. 2d 142 (D.D.C. 2011) ...................................................................................22, 24

                                                                       v
     Case 1:23-cv-01599-ABJ-ZMF                              Document 286                 Filed 11/04/24               Page 7 of 54




United States v. Harmon,
   No. 19 Cr. 395 (BAH), 2021 WL 1518344 (D.D.C. Apr. 16, 2021) .......................................38

United States v. Newcombe,
   No. 24 Cr. 567 (JSR) (S.D.N.Y. Sept. 30, 2024) ...............................................................19, 20

Wals v. Fox Hills Dev. Corp.,
   24 F.3d 1016 (7th Cir. 1994) ...................................................................................................22

Wisconsin Central Ltd. v. United States,
   585 U.S. 274 (2018) ...................................................................................................................6

Statutes

7 U.S.C. § 2(a)(1)(H) .................................................................................................................2, 17

7 U.S.C. § 9 ..........................................................................................................................2, 15, 21

7 U.S.C. §§ 9, 13(a)(2)...................................................................................................................20

15 U.S.C. § 78e ..............................................................................................................................44

15 U.S.C. §§ 78e(a), (c) .................................................................................................................44

15 U.S.C. § 78o(a) .........................................................................................................................44

15 U.S.C. § 78q-1(b) ......................................................................................................................44

ACA § 23-55-801 ............................................................................................................................3

Arizona Revised Statutes § 6-1226 ..................................................................................................3

Arizona Revised Statutes § 6-1231 ..................................................................................................3

Dodd-Frank Wall Street Reform and Consumer Protection Act ...................................................17

Exchange Act ......................................................................................................................... passim

Securities Act §§ 5(a) and 5(c) ......................................................................................................43

Rules

Fed. R. Civ. P. 12(b)(7)..................................................................................................................45

Fed. R. Civ. Proc. 12(b)(6) and 12(b)(7) .........................................................................................1

Rule 12(b)(6)....................................................................................................................................6

Rule 12(b)(7)....................................................................................................................................6

                                                                       vi
     Case 1:23-cv-01599-ABJ-ZMF                               Document 286                  Filed 11/04/24                Page 8 of 54




Rule 19 ...........................................................................................................................................45

Rule 19(b) ......................................................................................................................................45

Regulations

17 C.F.R. § 180.1 .......................................................................................................................2, 15




                                                                        vii
   Case 1:23-cv-01599-ABJ-ZMF            Document 286         Filed 11/04/24     Page 9 of 54




        Defendants BAM Trading Services Inc. and BAM Management US Holdings Inc.

(together, “BAM”) move this Court pursuant to Federal Rule of Civil Procedure 12(b)(6) and

12(b)(7) to dismiss Counts Eight, Nine and Ten of the First Amended Complaint (“FAC”) for

failure to state a claim.

                                PRELIMINARY STATEMENT

        This Court’s previous opinion and D.C. Circuit precedent doom the SEC’s amplified but

fundamentally similar amended complaint. To sufficiently plead that secondary sales of crypto

assets were part of an investment contract, the SEC must show an investment of money in a

common enterprise. It cannot. The SEC must also show a linkage to the efforts of others. It cannot.

Notwithstanding its now more than 800 paragraphs of allegations, the SEC, once again, has offered

a theory that “marks a departure from the Howey framework that leaves the Court, the industry,

and future buyers and sellers with no clear differentiating principle between tokens in the

marketplace that are securities and tokens that aren’t.” Dkt. 248 (Memorandum Opinion and

Order) (“Opinion”) at 42-43 (emphasis added). As explained below, the crypto assets listed by

BAM (each a token created by a third party) are commodities, properly and appropriately

regulated by the CFTC.

        Although the SEC purports to abandon its claim that the crypto asset is the embodiment of

the investment contract, its new allegations are burdened with the same flaws that this Court

correctly rejected. Dkt. 273, SEC Memo in Support of Motion for Leave to Amend the Complaint

(“SEC Brief”) at 13; Dkt. 172, SEC’s Opposition to Defendants’ Motions to Dismiss (“SEC MTD

Opposition”) at 29. For every crypto asset at issue, the SEC continues to argue that once the crypto

asset was sold as part of an investment contract, it always remains part of an investment contract

upon its resale. Id. at 13, 16-17. Under the SEC’s theory, once an original purchaser invests in the




                                                 1
    Case 1:23-cv-01599-ABJ-ZMF           Document 286       Filed 11/04/24      Page 10 of 54




common enterprise, that investment of money somehow travels with the token to all subsequent

purchasers, along with how the token “was originally offered and sold” and its “original

promotions.” Id. All future purchasers on the secondary market hold an investment contract

because, the SEC now says, they are “in the boat together” and it does not matter “when or how

they got into the boat in the first place.” SEC Brief at 15 (emphasis in original). In other words,

the SEC’s new theory simply repackages its old theory this Court already rejected.

        The SEC suggests that promotions of the ecosystem have continued. But, for the SEC, such

continuing promotion may simply include BAM providing the same type of market information to

its customers common in all commodity markets or prior “public statements and inducements

[that] remained available.” SEC Brief at 19-22. These allegations are insufficient to state a claim

under the Exchange Act because they are tantamount to saying the crypto asset is the

“embodiment” of the investment contract. See Opinion at 20-21. The Court should reject this

theory just as it did before. Id.

        The SEC claims that it requires this expanded jurisdiction for its own “critical regulatory

oversight.” SEC Brief at 1; FAC ¶¶ 3, 40-61. The SEC’s misreading of Howey continues to

improperly limit the CFTC’s jurisdiction and impede its Congressionally mandated role to regulate

the commodities markets.1 The SEC also ignores the numerous state regulators (with whom BAM


1
 See 7 U.S.C. § 2(a)(1)(H) (specifically excluding “any security” from the CFTC’s jurisdiction);
7 U.S.C. § 9 (prohibiting fraud in sale of any commodity in interstate commerce); 17 C.F.R.
§ 180.1 (adopting regulation to prohibit fraud or material misstatements in the sale of
commodities); see also id. § 1.6 (adopting rules prohibiting willful evasion of CFTC authority).
The CFTC actively brings enforcement actions for fraud and manipulation in the sale of crypto
assets. As the CFTC announced in its 2023 Year End Review, “the CFTC cemented its reputation
as a premier enforcement agency in the digital asset space. It filed high-profile complaints
addressing frauds by major exchanges … and continued its efforts to protect the public in the
decentralized finance space. In FY 2023, the CFTC brought 47 actions involving conduct related
to digital asset commodities, representing more than 49% of all actions filed during that
period.” See https://www.cftc.gov/PressRoom/PressReleases/8822-23.


                                                 2
    Case 1:23-cv-01599-ABJ-ZMF           Document 286        Filed 11/04/24      Page 11 of 54




is registered) that each have their own regulatory and enforcement regimes. FAC ¶ 29.2 The SEC

suggests that purchasers of crypto assets require additional disclosures (FAC ¶ 40), but if that was

truly its aim, the SEC would create rules for the industry to follow and identify what tokens are

sold as securities. But the SEC does not care whether registration or compliance with its view of

the securities laws is possible for the crypto industry.3 Notably, the SEC does not take the same

aggressive approach to Howey as it does here with other crypto assets it has arbitrarily chosen to

allow (Bitcoin and Ether), nor other virtual commodities like Voluntary Carbon Credits (“VCCs”).

But the legal requirements of Howey do not shift based on the SEC’s enforcement whims.

       The SEC spilled substantial ink attempting to strengthen its allegations but still failed to

sufficiently allege that any secondary sales of crypto assets on BAM were sold as investment

contracts. In particular, the SEC has failed to allege an investment in a common enterprise because

no funds from secondary purchasers were pooled into a common enterprise, nor could purchasers

have had an expectation they would be. The SEC has also failed to allege the expectation of profits

due to the efforts of others, failing to allege any actual promises or offers were made to any

purchasers of crypto assets, that any significant entrepreneurial activities promised would occur in

the future, or that any purchasers could have reasonably expected any profits would result from

such efforts. For these reasons, the SEC’s claims as to secondary sales should be dismissed with

prejudice, along with Counts Eight, Nine and Ten of the FAC.



2
  See, e.g., Arizona ST § 6-1226 (providing disclosure requirements for all money transmitters);
Arizona ST § 6-1231 (prohibiting fraud, intentional misrepresentation or gross negligence);
Arkansas § 23-55-608 (providing disclosure requirements for all money transmitters); ACA
§ 23-55-801 (prohibiting fraud, intentional misrepresentation, or gross negligence).
3
  Transcript of Oral Argument at 27:5-10, Coinbase Inc. v. SEC, No. 23-3202 (3rd Cir. Sept. 24,
2024) (Answering question on whether it is possible for Coinbase to register by stating that “[t]he
securities framework is not premised on compliance being possible…. And not everybody who
comes and wants to participate in a securities marketplace is able to do what they want to do.”).


                                                 3
     Case 1:23-cv-01599-ABJ-ZMF            Document 286         Filed 11/04/24     Page 12 of 54




                                          BACKGROUND4

          BAM’s core trading platform allows customers to place orders anonymously for listed

crypto assets on a continuously updated electronic order book.5 As a spot trader in commodities,

the CFTC’s enforcement authority applies to the transactions on BAM’s platform. The SEC alleges

that eleven of the crypto assets offered on BAM’s Platform have only ever been sold as part of

investment contracts – the “Ten Crypto Assets” (SOL, ADA, MATIC, FIL, ATOM, SAND,

MANA, ALGO, AXS, and COTI) and BNB (collectively, “the At-Issue Tokens”).6 SEC Brief at

23-25. As noted below, the FAC alleges that primary offerings of each of the At-Issue Tokens

occurred before (and sometimes years before) BAM listed them on its trading platform. BAM

launched a digital asset trading platform in the United States in September 2019 (FAC ¶ 211) but

most of the At-Issue Tokens were still not listed on BAM until months or years later. See Ex 1.

          Each crypto asset sold on BAM includes a web page that identifies historical trading data,

a description of the crypto asset (including its history, its uses, and its blockchain or network),

details on how to trade the crypto asset, resources related to the crypto asset (including the original

whitepaper and official website) and recent news stories about the crypto asset.7 BAM also informs


4
  Only for purposes of this motion, BAM assumes the truth of the FAC’s well-pleaded factual
allegations. See SEC v. RPM Int’l, Inc., 282 F. Supp. 3d 1, 11–12 (D.D.C. 2017).
5
    Ex. 2, available at https://www.binance.us/trading-rules.
6
  In addition to the Ten Crypto Assets and BNB, the FAC also alleged that BAM’s platform offered
BUSD as an investment contract. However, the Court previously held that the SEC failed to
plausibly allege that Binance offered and sold BUSD as an investment contract (Op. at 47), and
the SEC did not seek leave to amend the allegations concerning BUSD (Dkt. 273-1, at 6 n.4). The
FAC’s allegations about BUSD being offered as an investment contract on BAM’s platform are
identical to those this Court previously found insufficient. As a result, the Court should dismiss
any claims against BAM premised on BUSD being offered as a security.
7
       See,     e.g.,    Ex       3      (https://www.binance.us/price/solana);        Ex.     4
(https://www.binance.us/price/ethereum). The SEC previously asserted that the entirety of the
BAM website is incorporated into its complaint. Dkt. 205. On a motion to dismiss, the Court may
consider documents incorporated by reference in the Complaint. See Patrick v. Dist. of Columbia,

                                                   4
     Case 1:23-cv-01599-ABJ-ZMF          Document 286       Filed 11/04/24      Page 13 of 54




users each time that “[t]his material has been prepared for general informational purposes only and

should NOT be: (1) considered an individualized recommendation or endorsement of any digital

asset or services discussed herein; and (2) relied upon for any investment activities …. BAM does

NOT provide investment [] advice in any manner or form.” Id. BAM provides this same

information for each crypto asset it lists, including those the SEC does not contend were sold as

part of an investment contract, such as ETH, the native token of the Ethereum blockchain, and

Bitcoin.8

         The FAC contains no well-pleaded allegations that any issuers of the At-Issue Tokens sold

those tokens on BAM. The FAC vaguely asserts that issuers would sometimes engage market

makers to support liquidity on BAM, but does not allege that such market making was profitable

to the issuers or that any such profits were invested into the alleged common enterprise. FAC

¶¶ 462-490. There are no allegations that BAM made any promises or offers to any purchasers of

the At-Issue Tokens on its platform beyond the fact that they could purchase the token. The FAC

contains no allegations that (1) the money spent by purchasers to buy any of the At-Issue Tokens

on BAM was provided to the issuers of those tokens or (2) that any purchaser of the At-Issue

Tokens on BAM reasonably believed or expected that the money they spent to purchase the

At-Issue Tokens would be provided either to the issuers of those tokens, the managers of any

common enterprise to generate profits on their investments or to any of the parties the SEC has

identified were working to develop the ecosystem associated with each of those tokens.




126 F. Supp. 3d 132, 135–136 (D.D.C. 2015). See Appendix of Exhibits. A court need not “accept
as true the complaint’s factual allegations insofar as they contradict exhibits to the complaint or
matters subject to judicial notice.” Kaempe v. Myers, 367 F.3d 958, 963-65 (D.C. Cir. 2004).
8
    Ex.4 (BAM ETH page); Ex. 5 (BAM Bitcoin page).


                                                 5
  Case 1:23-cv-01599-ABJ-ZMF             Document 286         Filed 11/04/24     Page 14 of 54




                                      LEGAL STANDARD

       To survive a Rule 12(b)(6) motion to dismiss, a complaint must “state a claim to relief that

is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007)). The Court must only “accept as true the well-pleaded factual

allegations of the complaint.” Davis v. Billington, 681 F.3d 377, 379 (D.C. Cir. 2012). However,

“[a] pleading must offer more than ‘labels and conclusions’ or a ‘formulaic recitation of the

elements of a cause of action’ . . . and ‘threadbare recitals of the elements of a cause of action,

supported by mere conclusory statements, do not suffice.’” SEC v. RPM Int’l, Inc., 282 F. Supp.

3d 1, 12 (D.D.C. 2017) (quoting Iqbal, 556 U.S. at 678). The court “need not accept inferences

drawn by the plaintiff if those inferences are unsupported by the facts alleged in the Complaint.

Nor must the Court accept legal conclusions cast in the form of factual allegations.” Kowal v. MCI

Commc’ns Corp., 16 F.3d 1271, 1276 (D.C. Cir. 1994). Under Rule 12(b)(7), the Court may

dismiss a complaint or portions of a complaint for failure to join a party.

       When interpreting a statute’s meaning, such statutes “do—in fact, must—have a single,

best meaning. That is the whole point of having written statutes; ‘every statute’s meaning is fixed

at the time of enactment.’” Loper Bright Enterprises v. Raimondo, 144 S. Ct. 2244, 2266 (2024)

(quoting Wisconsin Central Ltd. v. United States, 585 U.S. 274, 284 (2018)) (emphasis deleted).

And for the key phrase in the securities laws at issue in this case – “investment contract” –

Congress has not delegated authority to the SEC to interpret the meaning of that term. See Am.

Bankers Ass’n v. SEC, 804 F.2d 739, 754-755 (D.C. Cir. 1986) (SEC cannot use definitional

authority to expand its own jurisdiction or invade the jurisdiction of other agencies).




                                                 6
     Case 1:23-cv-01599-ABJ-ZMF          Document 286         Filed 11/04/24      Page 15 of 54




                                           ARGUMENT

I.      THE SEC FAILED TO PLEAD ANY SECONDARY SALES OF CRYPTO ASSETS
        WERE SOLD AS AN INVESTMENT OF MONEY IN A COMMON ENTERPRISE.

        A.     Howey and This Circuit Require Pooling of Investment Funds.

        This Court’s previous analysis dooms the SEC’s recycled theory of its jurisdiction.9 The

SEC must establish “an investment of money in a common enterprise.” Opinion at 21 (emphasis

added). An investment of money and a common enterprise do not suffice, as that is within the

enforcement jurisdiction of the CFTC. Binding authority in this Circuit confirms that horizontal

commonality “requires that there be a pooling of investment funds, shared profits and shared

losses.” Opinion at 23-24; SEC v. Banner Fund, 211 F.3d 602, 614 (D.C. Cir. 2000) (“Banner

Fund”) (emphasis added) (citing SEC v. Life Partners, Inc., 87 F.3d 536, 542 (D.C. Cir. 1996)

(“Life Partners I”) (emphasis added)). As this Court recognized, “[t]he case law points to whether

the proceeds of the offering were ‘pooled’ as a critical aspect of analysis.” Opinion at 29. The court

in SEC v. Ripple Labs, Inc. (“Ripple I”) similarly found that pooling was required when it

distinguished between sales to institutional investors (primary sales) and sales to programmatic

buyers (sales by Ripple on the secondary market). 682 F. Supp. 3d 308, 328 (S.D.N.Y. 2023). The

SEC failed to establish pooling because purchasers on the secondary market could not have

reasonably expected that the proceeds from their sales would be invested into the common

enterprise without knowing from whom they were buying. Id. (“Whereas the Institutional Buyers

reasonably expected that Ripple would use the capital it received from its sales to improve the




9
 Defendants reserve their views previously argued, including that an investment contract requires
a contract. See, e.g., BAM Memorandum of Law in Support of Defendants’ Motion to Dismiss,
1:23-cv-01599, Dkt. 117 at *12-15 (D.D.C. Sept. 21, 2023); BAM Reply Memorandum of Law in
Support of Defendants’ Motion to Dismiss, 1:23-cv-01599, Dkt. 191 at *6-8 (D.D.C. Dec. 12,
2023); see also Loper Bright, 144 S. Ct. at 2266.


                                                  7
     Case 1:23-cv-01599-ABJ-ZMF          Document 286         Filed 11/04/24      Page 16 of 54




XRP ecosystem and thereby increase the price of XRP [ ], Programmatic Buyers could not

reasonably expect the same… Ripple’s Programmatic Sales were blind bid/ask transactions, and

Programmatic Buyers could not have known if their payments of money went to Ripple, or any

other seller of XRP.”). Ripple I applied its pooling analysis to “the expectation of profits due to

the efforts of others” element of an investment contract. Id.10 In either case, the requirement is the

same – funds must have been pooled and investors must have reasonably understood such pooling

would occur.

        The FAC entirely fails to establish this element. Whereas the Court allowed allegations

regarding the BNB ICO to go forward even though they were “thin” on the pooling requirement

for horizontal commonality (Opinion at 29), no such allegation of pooling exists for transactions

on BAM’s platform regarding the At-Issue Tokens. One searches the much-lengthened FAC in

vain for any factual allegation that a purchaser on BAM’s platform would have his funds end up

in the hands of the issuer of the digital asset.11 The SEC does allege generally that issuers would

sometimes engage “market makers” to support liquidity on BAM but only as a required service –

not a way to make money, let alone make money that would be invested into the alleged common

enterprise. FAC ¶¶ 338, 462-490.12. The SEC does not allege that any purchaser on BAM knew


10
  In Ripple II, the court noted that its conclusion that the SEC had failed to meet its burden was
based on its assessment of the totality of the circumstances. SEC v. Ripple Labs, Inc. 682 F. Supp.
3d 308, 321 (S.D.N.Y. 2023) (“Ripple Labs II”). But the court did not alter the test it applied –
whether purchasers reasonably expected that the proceeds from their sales would be invested into
the common enterprise.
11
  Although the SEC makes a conclusory allegation that some of the “issuers” of the Ten Crypto
Assets sold them on Binance.com, those allegations are not applicable to BAM. FAC ¶¶ 467-468.
12
   The only specific allegation is that Sigma Chain, a company with common ownership as Binance
but not a subsidiary, would engage in market making on BAM. FAC ¶¶ 186-193. A market maker
is a firm that stands ready to buy or sell a stock at publicly quoted prices. See Ex. 2 (BAM Trading
Rules). The SEC does not allege that Sigma Chain sold more BNB than it bought or raised profits
that it then transferred to Binance for investment in the common enterprise. FAC ¶ 338. Despite
numerous detailed claims about how Sigma Chain transferred money, the SEC never alleges Sigma

                                                  8
   Case 1:23-cv-01599-ABJ-ZMF             Document 286         Filed 11/04/24      Page 17 of 54




from whom they were buying, let alone reasonably believed their purchases would be pooled into

a common enterprise. The SEC has failed in its two opportunities to sufficiently allege pooling

into a common enterprise.

        B.      The Court Should Reject the SEC’s Latest Attempt to Bring Commodities
                Transactions under the Securities Laws by Ignoring or Replacing the
                “Pooling” Requirement.

        Pooling of funds is a “critical aspect of analysis” in part because the economic reality of a

transaction whose pooled assets are used by an enterprise is far different from an enterprise that

never receives the benefit of the additional funds to deploy as it sees fit. See Opinion at 29. Lacking

this key element that the Court emphasized in the original opinion, the SEC makes several

arguments that fail to fill the breach.

                1.      Economic Interdependence Does Not Establish Pooling.

        The SEC first attempts to replace the requirement of pooling with one of “economic

interdependence,” meaning purchasers’ “economic fortunes will be affected equally.” SEC Brief

at 15. But this simply is another way to describe “shared profits and losses,” which Life Partners

I requires as an element separate and apart from pooling. 87 F.3d at 543. The SEC conflates its

“economic interdependence” with the “interdependency” actually examined in Life Partners I –

the requirement that the seller would use the funds of each investor together to make the common

enterprise work, whether or not the funds were explicitly pooled into the same account. Life

Partners I, 87 F.3d at 544 (“[I]f LPI must have investors ready to buy some minimum percentage

of the policy before the transaction will occur, then the investment is contingent upon a pooling of

capital.”).




Chain transferred money to Binance or that Binance used proceeds from Sigma Chain to create
profits for holders of BNB. See, e.g., FAC ¶¶ 186-193.


                                                  9
  Case 1:23-cv-01599-ABJ-ZMF             Document 286         Filed 11/04/24      Page 18 of 54




       Interdependency as examined in Life Partners I means that the combined buying power of

the investors’ funds are needed for the profitability of the common enterprise. Id. The same was

true in Banner Fund, where the court found pooling despite individual investor funds being held

in separate accounts because “[t]he very premise upon which Swiss Trade marketed the program

was that Banner Fund would combine funds from small investors so that they could participate in

deals requiring large capital outlays.” 211 F.3d at 615. As the court in SEC v. Kik Interactive, Inc.

wrote, Howey is meant to adapt to the “variable schemes devised by those who seek the use of the

money of others on the promise of profits.” 492 F. Supp. 3d 169, 177 (D. Conn. 2020) (emphasis

added). Kik Interactive found that “[t]he economic reality” of the transactions in question

displayed horizontal commonality because the defendant “pooled proceeds from its sales of [the

token] Kin in an effort to create an infrastructure for Kin, and thus boost the value of the

investment.” 492 F. Supp. 3d at 179.

       If the investors’ funds never reach the enterprise, then the proceeds cannot be combined

with others and cannot boost the value of the enterprise. There is no interdependence and thus no

pooling. SEC v. Ripple Labs, 682 F. Supp. 3d 308, 328–29 (S.D.N.Y. 2023) (“Ripple Labs I”). The

economic reality when funds are pooled and used to build infrastructure or otherwise develop the

enterprise is materially different from when a buyer acquires an asset in exchange for funds that

do not support the enterprise. That is why, as this Court has already recognized, the pooling of

funds is a “critical aspect of analysis,” an aspect that is entirely missing here. Opinion at 29. This

by itself is fatal to the SEC’s Amended Complaint.




                                                 10
     Case 1:23-cv-01599-ABJ-ZMF         Document 286        Filed 11/04/24     Page 19 of 54




               2.     Pooling by Primary Purchasers Does Not Establish Pooling by
                      Secondary Purchasers.

        The SEC asks this Court to ignore the pooling requirement for secondary investors so long

as funds from the primary investors were pooled together. The SEC’s argument is inconsistent

with Howey and simply reframes the embodiment theory this Court has already rejected.

         The SEC cites SEC v. Terraform Labs PTE, Ltd., 684 F. Supp. 3d 170, 193 (S.D.N.Y.

2023) (“Terraform I”) and a series of cases13 that rely on Terraform I for the proposition that

“investors who purchased BNB on the Binance Platforms bought into and replaced the sellers

within the common enterprise with no change to the economic realities.” SEC Brief at 16-18. The

parties already briefed this very contention and this Court already rejected it – determining that

primary and secondary sales must be analyzed separately, following the approach in Ripple Labs I.

Opinion at 37-44; see also SEC v. Payward, Inc., et al., 23-cv-06003-WHO at *18 n.8 (N.D. Cal.

August 23, 2024) (“Kraken”) (contrasting the approach taken by this Court and Ripple Labs I with




13
   The SEC cites to Terraform I, 684 F. Supp. 3d at 197; Coinbase, 2024 WL 1304037 at *21 (
(relying on Terraform I); In re Ripple Labs., 2024 WL 3074379, at *7 (N.D. Cal. June 20, 2024)
(relying on Terraform I); Patterson v. Jump Trading LLC, 710 F. Supp. 3d 692, 711 (N.D. Cal.
2024) (relying on Terraform I)). The other cases cited by the SEC do not support its position. See
In re BitConnect Sec. Litig., 2019 WL 9104318, at *8 (S.D. Fla. Aug. 23, 2019) (analyzing vertical
commonality without discussing “pooling” at all); Hocking v. Dubois, 885 F.2d 1449 at 1459 (9th
Cir. 1989) (finding pooling of the assets invested by the secondary market participants was
required and occurred because the real estate was pooled into the common enterprise of the rental
pool arrangement being offered); Gary Plastic Packaging Corp. v. Merrill Lynch, Pierce, Fenner
& Smith, Inc., 756 F.2d 230, 234-235 (2d Cir. 1985) (not discussing pooling of secondary sales
but finding pooling occurred because investor funds in fact went to the parties from whom
plaintiffs expected the efforts for their profits, Merrill Lynch and third party banks); SEC v.
Telegram, 448 F. Supp. 3d 352, 369 (S.D.N.Y. 2020) (not discussing pooling of secondary sales
but finding horizontal commonality because funds from the initial purchasers in two rounds were
pooled together to develop the blockchain and associated programs). And none of these cases were
in this Circuit and so were not subject to the elements that the D.C. Circuit established in Life
Partners I and confirmed in Banner Fund – that an investment contract requires a pooling of funds
for there to be horizontal commonality.


                                               11
  Case 1:23-cv-01599-ABJ-ZMF             Document 286         Filed 11/04/24     Page 20 of 54




the approach in Terraform I and agreeing with this Court’s conclusion that primary and secondary

sales should be treated differently).

       The SEC has expressly disavowed that there is any privity between primary and secondary

purchasers. SEC MTD Opposition at 20-28; see also Opinion at 15-18. Yet now, the SEC

essentially argues that the At-Issue Token transactions should be treated like an assignable contract

– when the rights and benefits are assigned to a new party, the offers and promises from the original

seller flow to the new buyer. SEC Brief at 13, 24. The SEC cannot have it both ways. For example,

with COTI, the original investors acquired the tokens in 2019 through a “Purchase Agreement”

that included stating what the funds would be used for and requiring a lockup period. FAC ¶¶ 749,

751. Secondary purchasers did not enter into any purchase agreements, and no rights of the 2019

Purchase Agreements were transferred to the secondary purchasers when they simply bought the

asset, COTI, via anonymous trades on BAM more than three years later. FAC ¶ 753. The promises

to the original purchaser of an investment contract do not flow to a new purchaser when the original

purchaser merely sells the underlying asset.

       This Court recognized the distinction between primary and secondary sales already. See

Opinion at 19-21 (distinguishing between the coins themselves and offers to sell them); id. at 37-

43 (discussing secondary sales). Indeed, the purchasers in the initial or primary coin offerings

sometimes do not purchase just the crypto asset – they may enter into purchase agreements, lockup

periods, and often are just purchasing the right to future delivery of tokens. E.g., FAC ¶¶ 522-525

(SOL); FAC ¶¶ 586-591 (FIL). The original purchases may be based on the promise of the sellers

to use the funds to develop the blockchain. Id. But on the secondary market for the At-Issue

Tokens, the SEC alleges nothing more than the purchase and sale of the crypto asset itself – the

transactions are between anonymous parties and nothing else is transferred.




                                                 12
     Case 1:23-cv-01599-ABJ-ZMF          Document 286        Filed 11/04/24      Page 21 of 54




        The SEC disingenuously argues that Howey cannot require pooling for secondary sales

because then secondary sales could never be part of investment contracts, somehow undermining

the Exchange Act. SEC Brief at 16-17. This betrays a fundamental misunderstanding of the nature

of secondary market transactions, particularly transactions that are common in the commodities

markets subject to CFTC enforcement jurisdiction. Investment contracts can, of course, be sold in

the secondary market, but the SEC has not alleged that happened here. As discussed, this would

be true when the purchaser was in privity with the original seller. Crypto assets also can be

designed to provide a payment to the original creator of a token every time the token is sold in the

secondary market.14 It is just that none of the At-Issue Tokens include this feature.

        The SEC claims that “Defendants have cited no case for the proposition that who an

investor bought the asset from affects the common enterprise analysis.” SEC Brief at 17. Life

Partners I, however, makes that very point by requiring the pooling of the investors’ funds. 87 F.3d

at 542. The Ripple I court similarly distinguished between primary and secondary sales, finding

that secondary purchasers needed to reasonably have believed that such pooling would occur.

Ripple I, 682 F. Supp. 3d at 328. This Court, following Ripple I, similarly concluded that

distinctions between purchasers in the primary and secondary sales context impact the common

enterprise analysis and should be analyzed on a case-by-case basis. Opinion at 37-38.

        Finally, the Court should reject the SEC’s odd claim that investor funds from all

anonymous secondary trades should be treated as if they reached the issuers because issuers

sometimes made subsequent sales of tokens after their initial primary offerings or used market



14
   For example, many non-fungible tokens (“NFTs”) are designed to automatically provide the
creator of an NFT with a royalty payment every time the NFT is transferred between owners on
the secondary market. See, e.g., https://www.coinbase.com/learn/your-crypto/what-are-nft-
royalties.


                                                13
  Case 1:23-cv-01599-ABJ-ZMF               Document 286      Filed 11/04/24      Page 22 of 54




makers to promote liquidity. SEC Brief at 26-27. The SEC has failed to allege any funds from

sales on BAM reached the issuers or third parties developing the common enterprise or that BAM

customers could have had a reasonable expectation they would.

        C.      The SEC’s “New” Theory Is the Same One This Court Rejected.

        This Court previously rejected the SEC’s theory that the crypto asset itself is the security

and remains a security “as it moves forward in commerce and is bought and sold by private

individuals on any number of exchanges, and is used in any number of ways over an indefinite

period of time.” Opinion at 42-43. According to the Court, the SEC’s proposed test “marks a

departure from the Howey framework that leaves the Court, the industry, and future buyers and

sellers with no clear differentiating principle between tokens in the marketplace that are securities

and tokens that aren’t.” Id. (emphasis added). The SEC suggests it never made this argument before

and then presents the same argument as a new theory. SEC Brief at 16-17; 23-25 (but see Opinion

at 20). The new theory suffers from the same flaws as the first, and the SEC continues to fail to

establish a clear differentiating principle.

        The SEC claims that it never meant “crypto asset securities” to refer to the “crypto asset

itself” but merely as a “shorthand” for being the subject of an investment contract. SEC Brief at

24 n. 6. In reality, the SEC still asserts that there are no circumstances under which the Tokens at

Issue can be sold as commodities. The SEC still believes that the crypto asset is intertwined with

the investment contract based primarily on how it was originally sold and continues to be so

intertwined for an indefinite period. Id. at 13. The Amended Complaint is rife with allegations

confirming that the SEC continuous to rely on this flawed theory. For example, the SEC repeatedly

points to the original whitepapers and offers to the primary investors from issuers that remain

posted on websites. SEC Brief at 28 (noting that “many of these initial statements are still widely

available today”); FAC ¶ 492 (“Many of these statements are still widely available as of September


                                                 14
     Case 1:23-cv-01599-ABJ-ZMF          Document 286        Filed 11/04/24      Page 23 of 54




2024”). If the author of the whitepaper no longer posts it, that does not matter because the

whitepaper still is “readily available” elsewhere on the web. FAC ¶ 300. Most of the “efforts of

others” identified by the SEC are activities that occurred prior to or at the beginning of the launch

of the token and its listing on secondary markets. See, e.g., FAC ¶ 533 (SOL); FAC ¶ 556 (ADA);

FAC ¶ 597-605) (FIL); FAC ¶ 634-35 (ATOM); SEC Brief at 28 (describing how a “critical part”

of the initial promotional statements to primary investors was that the coins would be listed on a

platform). BAM customers simply trade the asset itself, anonymously – buyers receive no

assurance their funds will be invested in the ecosystem and any rights primary buyers may have

(from a purchase agreement or otherwise) similarly do not transfer. Ex. 2 (BAM Trading Rules);

FAC ¶¶ 158-165, 518. The SEC alleges that every post-ICO sale of the tokens at issue satisfies

Howey regardless of why they were bought or sold and regardless of when the sale occurred. SEC

Brief at 13 (BNB), 28 (Ten Crypto Assets); FAC ¶ 521.

               1.      The SEC’s Theory Has No Limiting Principle.

        Just as before, the SEC’s theory destroys the distinction between investment contracts (for

which it does have authority) and investments in commodities (for which the CFTC, not the SEC,

has authority). The SEC alleges its enforcement authority is necessary to ensure accuracy of

statements made about crypto. FAC ¶ 513. But the CFTC can already prosecute any fraudulent

conduct and material misstatements related to commodities, including crypto assets.15 Similarly,

the numerous state money transmitter laws under which BAM is registered also provide states with




15
  7 U.S.C. § 9 (prohibiting fraud in sale of any commodity in interstate commerce); 17 C.F.R.
§ 180.1 (adopting regulation to prohibit fraud or “any untrue or misleading statement of a material
fact” in sale of commodities); see also id. § 1.6 (adopting rules prohibiting willful evasion of CFTC
authority).


                                                 15
     Case 1:23-cv-01599-ABJ-ZMF          Document 286       Filed 11/04/24      Page 24 of 54




the authority to require registration, require certain disclosures and police false statements. See

supra n.1.

          There is no limiting principle to the SEC’s position on investment contracts. The FAC

makes numerous allegations concerning the information BAM provides to customers about the

At-Issue Tokens and alleges this is “amplifying” promotions of an investment contract and “akin”

to how exchanges sell securities. See, e.g., FAC ¶ 636. The “touting” activity the SEC alleges

includes linking to copies of the whitepaper, listing detailed pricing information, linking to the

website of the entity that created the blockchain or the non-profit setup to help manage the

blockchain, and providing information about new developments on the blockchain. See, e.g., FAC

¶¶ 272, 556. What the SEC fails to mention is that every allegation it makes about why the At-Issue

Tokens were sold as securities is equally applicable to ETH – a crypto asset the SEC currently

does not allege is sold as an investment contract when traded on the secondary market.16

          BAM provides similar information about all the commodities it lists, both the At-Issue

Tokens and those the SEC does not claim to be sold as part of investment contracts. For example,

for ETH, BAM provides live and historical price information, details about the “Ethereum

ecosystem”, links to the ETH whitepaper and official website, and regular updates on recent news

articles discussing (or in SEC parlance, “touting”) ETH.17 BAM tweets about ETH opportunities



16
   The SEC affirmed that ETH is not a security when sold on secondary markets on May 23, 2024,
when it approved the listing and trading of spot ether ETPs under the rules for non-securities
commodity-based trust shares. See Securities and Exchange Commission, Order Granting
Accelerated Approval of Proposed Rule Changes, as Modified by Amendments Thereto, to List
and Trade Shares of Ether-Based Exchange-Traded Products, Exchange Act Release No. 100224,
2024 WL 2746091 (May 23, 2024). See also In the Matter of eToro USA LLC (3-22106,
September 12, 2024); https://www.sec.gov/newsroom/press-releases/2024-125 (SEC announcing
a settlement with eToro, stating that it was “removing tokens offered as investment contracts from
its platform” but would still sell Bitcoin, Bitcoin Cash, and ETH to US customers).
17
     See Ex. 4 (https://www.binance.us/price/ethereum).


                                                16
     Case 1:23-cv-01599-ABJ-ZMF          Document 286        Filed 11/04/24      Page 25 of 54




and price movements.18 The Ethereum website describes Ethereum as “the strongest ecosystem,”

touts the more than $100 billion worth of ETH locked in staking and encourages people to join the

ecosystem.19 But the SEC does not currently claim that ETH transactions are subject to the

securities laws.

          There is no principled way to distinguish how ETH is sold on BAM from how each of the

At-Issue Tokens are sold on BAM. From the beginning of the case, the SEC has refused to

distinguish what crypto assets it alleges were sold as securities on the BAM platform from which

crypto assets were sold only as commodities.20 The reason is because the SEC's proposed

framework cannot distinguish between the two and still “leaves the Court, the industry, and future

buyers and sellers with no clear differentiating principle between tokens in the marketplace that

are securities and tokens that aren’t.” Opinion at 43. The SEC's test would have sales of all crypto

assets (and many other commodities) treated as sales of securities in all contexts, so it must be

rejected.

                 2.      The SEC’s Theory Still Encroaches on CFTC Jurisdiction.

          Applying the SEC’s theory improperly encroaches on the CFTC’s jurisdiction. The

CFTC’s jurisdiction is strictly limited when commodities are sold as securities, and in the SEC’s

view the crypto assets at issue can only be sold as part of investment contracts and thus as

securities.21 If the SEC’s theory is right, the CFTC should not be bringing enforcement actions



18
     See https://x.com/BinanceUS/status/1656780218286350336.
19
     See https://ethereum.org/en/.
20
  See, e.g., Temporary Restraining Order Hearing Transcript, Dkt. 69 at 11:18 – 12:25 (SEC
answering questions about whether tokens other than the At-Issue tokens are commodities or
securities and stating, “We are not taking a position at this time.”).
21
   7 U.S.C. § 2(a)(1)(H) (specifically excluding “any security” from the CFTC’s expanded
jurisdiction under the Dodd-Frank Wall Street Reform and Consumer Protection Act).


                                                17
     Case 1:23-cv-01599-ABJ-ZMF          Document 286         Filed 11/04/24      Page 26 of 54




over fraud or material misstatements in the sale of crypto assets and cannot be “a premier

enforcement agency in the digital asset space” as it claims. Supra n.1.

        The encroachment does not stop there. Other intangible commodities regulated by the

CFTC would be swallowed by the SEC’s expansive interpretation of “investment contract.” For

example, under the SEC’s theory, transactions in VCCs should be deemed securities transactions,

but the SEC and CFTC have not proceeded that way. VCCs are an example of an environmental

commodity, “a tradeable intangible instrument that is issued by a carbon crediting program.”22 Just

like crypto assets, VCCs are not physical commodities – they are a representation of a reduction

of carbon in the atmosphere from a particular project or “ecosystem.” Id. VCCs “are not at all like

oranges, diamonds, or oil in any way that is dispositive in a securities analysis” and, just like a

crypto asset, “does nothing on its own.” SEC MTD Opposition at 27-28.

        VCCs have identified parties advancing the enterprise. “The issuance of VCCs typically

involve three categories of participants: (1) the developer (e.g., the Carbon Project Developer) of

a mitigation project or activity that is intended to reduce or remove greenhouse gas emissions from

the atmosphere (“project developer”); (2) a crediting program (e.g., the Carbon Credit Registry)

that, among other things, issues VCCs for mitigation projects or activities that satisfy the crediting

program’s standards; and (3) third-party VVBs that validate and verify the mitigation project or

activity.” Steele at 3. In SEC parlance, these are the “third parties” on whom investors will depend

for profits.

        An original purchaser of a VCC invests funds into the particular project or ecosystem that

is pooled with the proceeds from other investors to develop the ecosystem and create reductions



22
   In the Matter of Jason Steele, CFTC 24-36 (“Steele”) (September 30, 2024) at 3-5 (available at
https://www.cftc.gov/media/11381/enfjasonsteeleorder093024/download).


                                                 18
     Case 1:23-cv-01599-ABJ-ZMF          Document 286         Filed 11/04/24     Page 27 of 54




in carbon emissions (such as retrofitting coal power plants).23 See, e.g., Newcombe Indictment ¶ 25.

In SEC parlance, these are a “common enterprise” to develop the “ecosystem” in which the value

of the VCC is created by the efforts of others. Id. ¶ 7 (explaining that “[t]he value of a [carbon]

credit . . . depends . . . on how market participants view the quality and integrity of the process

used to issue the credit”).

          Although VCCs have a use (offsetting one’s carbon emissions), purchasers are encouraged

to treat them as an investment and the price may rise over time based on the efforts of the project

developer, crediting program and verifiers. For example, platforms and other secondary markets

have been set up to buy and sell VCCs.24 “Market participants that are purchasing VCCs to help

meet their carbon mitigation goals may be focused largely or primarily on price . . . .”25 Purchasers

of VCCs “hope to achieve a return through their subsequent resale at a higher price.”26

          Just like BAM does for the At-Issue Tokens, VCC Registries “publicly report key

information … concerning the supply and project specifications of VCCs, thereby assisting market

participants in making informed evaluations and comparisons of VCC supply and quality” and

platforms tout the investment opportunities of different products and recent price movements.27




23
  United States v. Newcombe, No. 24 Cr. 567 (JSR) (S.D.N.Y. Sept. 30, 2024) (“Newcombe
Indictment”).
24
   See CFTC, Commission Guidance Regarding the Listing of Voluntary Carbon Credit Derivative
Contracts (Sept. 19, 2024) (pre-publication version), FN 42. (available at
https://www.cftc.gov/media/11301/FederalRegister092024_VCCDerivativesGuidance/download
).
25
     Id. at 13.
26
   Int’l Org. of Sec. Comm’ns, Voluntary Carbon Markets: Consultation Report (2023) at 21
(available at https://www.iosco.org/library/pubdocs /pdf/IOSCOPD749.pdf).
27
  See, e.g., One Swallow doesn’t make a Summer & Bull Markets don’t last forever. May 9, 2021
Wayne Sharpe, posted on Carbon TradeXchange (“With HUGE buyer interest in the market, we
have seen a massive run on lower priced credits (under US$2/tonne), which has seen prices driven

                                                 19
     Case 1:23-cv-01599-ABJ-ZMF          Document 286        Filed 11/04/24      Page 28 of 54




Steele at 4; see also Newcombe Indictment ¶ 9 (noting that a Carbon Project Developer submits a

“project proposal” (similar to a whitepaper) to a VCC Registry, which publishes it online). In the

SEC’s parlance, developers of VCCs have “explicitly invoked the language and appearance of the

traditional securities markets” with things like brokers, providing pricing information to customers

and encouraging investment.28 See, e.g., SEC Brief at 2, 31; FAC ¶¶ 87-89; 227-313.

        Given the remarkable similarities between the VCC market and crypto assets markets, one

would expect the SEC to treat VCCs the same way – as investment contracts. They do not. The

SEC and CFTC recently worked cooperatively in bringing related cases involving fraud in the

VCC market. The SEC brought charges alleging fraud in an equity offering but did not pursue

fraud or registration charges related to the trading of the VCCs.29 The CFTC charged Steele and

others with violation of 7 U.S.C. §§ 9, 13(a)(2), authority granted to the CFTC in Dodd-Frank that

excludes the CFTC authority over securities. Steele at 3. The CFTC has also issued detailed

guidance to market participants about the VCC market.30

        What does this example show? That the SEC has a special rule for crypto assets (first

designated as “crypto asset securities” and now under their refashioned theory) that it does not

apply elsewhere. That is because the SEC’s theory here is not consistent with Howey or the


up and inventory being snapped up at rates that we have NEVER seen before.”) (available at
https://ctxglobal.com/one-swallow-doesnt-make-a-summer-bull-markets-dont-last-forever/).
28
  The SEC ignores that securities markets are not the only markets and that the “language and
appearance of the traditional securities markets” is also the “language and appearance of” markets
generally, including commodities and derivatives markets under CFTC jurisdiction.
29
   See Press Release No. 8994-24, CFTC Charges Former CEO of Carbon Credit Project
Developer with Fraud Involving Voluntary Carbon Credits, Commodities Futures Trading
Commission (Oct. 2, 2024), https://www.cftc.gov/PressRoom/PressReleases/8994-24; In the
Matter     of     CQC          Impact     Investors    LLC,   3-22224    available   at
https://www.sec.gov/files/litigation/admin/2024/33-11315.pdf.
30
 See CFTC, Commission Guidance Regarding the Listing of Voluntary Carbon Credit Derivative
Contracts (Sept. 19, 2024).


                                                20
     Case 1:23-cv-01599-ABJ-ZMF           Document 286         Filed 11/04/24      Page 29 of 54




meaning of investment contract and so inappropriately infringes on the CFTC’s authority. But

whether the SEC chooses to use its enforcement authority has no bearing on whether the CFTC

has jurisdiction. The SEC does not have the right to decide whether secondary sales of VCCs are

sold as investment contracts any more than it can decide whether secondary sales of ETH are sold

as investment contracts. The SEC claims for itself “critical regulatory oversight” over crypto

assets, but Congress gave such authority to the CFTC. FAC ¶ 3; 7 U.S.C. § 9.

        While the SEC offers no limiting principle to Howey, this Court already has. The Court

should reject the Howey analysis urged by the SEC and instead analyze the totality of the

circumstances and economic realities of each sale. Opinion at 29. Using this approach, the SEC’s

allegations again fail and the distinction between SEC and CFTC authority is preserved.

        D.     The SEC Cannot Rely on Vertical Commonality to Save Its Claims.

        Without horizontal commonality, the SEC is forced to argue for vertical commonality, a

position that has never been adopted in this Circuit. This Court should not endorse the SEC’s

continuing venture to expand its jurisdiction at the expense of another federal agency. Life

Partners I, Life Partners II and Banner Fund each adopted horizontal commonality. Life

Partners I, 87 F.3d at 543; SEC v. Life Partners, 102 F.3d 587, 589 (D.C. Cir. 1996) (“Life

Partners II”); Banner Fund, 211 F.3d at 614. No district court in this Circuit has adopted vertical

commonality as sufficient and none since Life Partners I has applied it, let alone adopted it.31


31
   Prior to Life Partners I, courts in this district either rejected certain forms of vertical
commonality or noted the minority view of vertical commonality and found they did not need to
resolve whether vertical commonality was sufficient because the purported investment contract
either met both vertical and horizontal commonality or neither. Meredith v. Conticommodity
Servs., Inc., No. 79-1282, 1980 WL 1465, at *4 (D.D.C. Nov. 24, 1980) (rejecting vertical
commonality as expressed in the Fifth Circuit); SEC v. Life Partners, Inc., 898 F. Supp. 14, 19
(D.D.C. 1995), rev’d on other grounds, 87 F.3d 536, 549 (D.C. Cir. 1996) (“[t]he Court need not
decide which measure of commonality is appropriate because each type is present in the instant
case”)); SEC v. Parkersburg Wireless LLC, 991 F. Supp. 6, 8 (D.D.C. 1997) (“Although at least
one judge in this district has held either horizontal or vertical commonality will suffice to establish

                                                  21
  Case 1:23-cv-01599-ABJ-ZMF               Document 286       Filed 11/04/24      Page 30 of 54




          Vertical commonality has been expressly rejected in other circuits. In Deckebach v. La

Vida Charters, Inc. of Fla., the court rejected vertical commonality because eliminating pooling

unreasonably expands Howey by essentially eliminating the “common interest” requirement,

making it a two-part test rather than three-part test. 867 F.2d 278, 281 (6th Cir. 1989). In Wals v.

Fox Hills Dev. Corp., 24 F.3d 1016, 1019 (7th Cir. 1994), the Seventh Circuit similarly rejected

vertical commonality as going beyond the limited statutory purpose of an investment contract. See

also Salcer v. Merrill Lynch, Pierce, Fenner & Smith Inc., 682 F.2d 459, 460 (3d Cir. 1982)

(rejecting a claim that a commodity account could be an investment contract without a showing of

pooling). This Court should not accept the SEC’s urging to expand Howey and reject this Circuit’s

previous holdings that horizontal commonality requires “a pooling of investment funds, shared

profits and shared losses”, elements that the SEC cannot demonstrate here. Banner Fund, 211 F.3d

at 614.

          But even if this Court applied vertical commonality, the SEC’s claims would still fail. The

SEC has still not alleged an investment of money in a common enterprise. The SEC does not (and

could not) allege that BAM’s customers have strict vertical commonality with either BAM (who

solely receives transaction fees) or the issuers of the crypto assets (whose fortunes could rise or

fall independently of the prices of the assets they once issued for any number of reasons). And

even if the SEC could establish an “investment of money in a common enterprise” through vertical



the second element of an ‘investment contract,’…the Court finds that both horizontal and vertical
commonality exist here”) (internal citations omitted)); SEC v. Int’l Loan Network, Inc., 770 F.
Supp. 678, 690, 691-92 (D.D.C. 1991) (explaining that its approach following “a definition of
commonality requiring some correlation between the profits and losses of individual investors and
the fortunes of the investors as a group (horizontal commonality) or with the enterprise itself
(vertical commonality)”)), aff’d 968 F.2d 1304, 1307-08 (D.C. Cir. 1992). After Life Partners I,
the court in United States v. Bowdoin, 770 F. Supp. 2d 142, 150 (D.D.C. 2011) applied horizontal
commonality without discussing vertical commonality. This Court discussed both but only applied
horizonal commonality. See Order at 22-23.


                                                  22
      Case 1:23-cv-01599-ABJ-ZMF         Document 286         Filed 11/04/24      Page 31 of 54




commonality, as discussed below, they have nevertheless failed to show that secondary purchasers

on BAM were led to expect profits solely from the efforts of the promoter or a third party.

II.      THE SEC FAILED TO PLEAD THE EXPECTATION OF PROFITS DUE TO THE
         EFFORTS OF OTHERS.

         The Amended Complaint fails to allege that purchasers had a reasonable expectation of

profits due predominantly to the efforts of others. Opinion at 25 (citing SEC v. Int’l Loan Network,

Inc., 968 F.2d 1304, 1308 (D.C. Cir. 1992)). The efforts of others must predominate in affecting

the profits, must include post-purchase activities and “ministerial functions should receive a good

deal less weight than entrepreneurial activities.” Id. at 26 (quoting Life Partners I, 87 F.3d at 545–

46 and Life Partners II, 102 F.3d at 588 (internal quotations omitted)). The expected profits must

be in the form of a return on investment and not consumption. Id. at 26 (citing Life Partners I,

87 F.3d at 543; United Hous. Found., Inc. v. Forman, 421 U.S. 837, at 853 (1975)). The Court

must engage in an objective inquiry, “focusing on the promises and offers made to investors.” Id.

at 26 (quoting Telegram, 448 F. Supp. 3d at 371); see, e.g., Sinva, Inc. v. Merrill, Lynch, Pierce,

Fenner & Smith, Inc., 253 F. Supp. 359, 367 (S.D.N.Y. 1966) (finding purchaser’s mere hope that

an asset will increase in value insufficient to satisfy this element). The SEC has failed to allege

that promises were made to secondary purchasers, that investors could have had an expectation of

sufficient post-sale activities, or that any expected profits from their purchases would result

predominantly from the efforts of others. Thus, the secondary sales claims must be dismissed on

this basis as well.

         A.     No Promises Were Made to Purchasers of Crypto Assets on BAM’s Platform.

         The SEC has failed to allege that the public statements set forth in the FAC include

promises or offers to the secondary market purchasers. Statements in whitepapers and other

materials provided to initial investors are not promises or offers to secondary traders. Promotional



                                                 23
  Case 1:23-cv-01599-ABJ-ZMF            Document 286        Filed 11/04/24      Page 32 of 54




statements of a “general nature” that are not accompanied by “actual commitments to perform

specific services” are mere marketing puffery; they do not establish a reasonable expectation of

profits. Happy Inv. Grp. V. Lakeworld Props., Inc., 396 F. Supp. 175, 181 (N.D. Cal. 1975); see

also Timmreck v. Munn, 433 F. Supp. 396, 403 n.4 (N.D. Ill. 1977) (“A court must distinguish

between mere puffery, generalizations, and other talk designed to create an ‘illusion’ of extensive

development plans, from cases where the real burden of development is not placed upon the

purchasers”). Indeed, the vague statements cited in the FAC about the ecosystem or development

of projects are materially different than the specific offers or promises that have been deemed to

create a reasonable expectation of profits in other circumstances. See, e.g., United States v.

Bowdoin, 770 F. Supp. 2d 142 (D.D.C. 2011) (company promised to pay back 125% of the value

paid to the company via rebates); SEC v. Parkersburg Wireless Liab. Co., 991 F. Supp. 6 (D.D.C.

1997) (investors were told by promoters that they would receive a pro rata share of the revenues

generated from the wireless cable operation). As the Court in Ripple I concluded, “Ripple did not

make any promises or offers [to secondary purchasers] because Ripple did not know who was

buying the XRP, and the purchasers did not know who was selling it.” Ripple I at 329. Likewise,

the FAC does not allege that any seller on BAM knew who was buying the crypto asset or that any

buyer knew who was selling it. Statements about greater use cases for the tokens (consumption)

are not promises of an investment opportunity. See Opinion at 26; Life Partners I, 87 F.3d at 543.

       Even if the SEC had pled any specific promise or offer, it must plead that these offers

actually reached a buyer. Life Partners I, 87 F.3d at 544; Banner Fund, 211 F.3d at 615; Kik

Interactive, 492 F. Supp. At 177-79. Yet the FAC lacks allegations that even a single individual

investor actually reviewed recent public statements, let alone relied on them to understand that by

purchasing a specific token on a secondary market, she was buying an investment in an ecosystem




                                                24
     Case 1:23-cv-01599-ABJ-ZMF          Document 286         Filed 11/04/24      Page 33 of 54




from which she could reasonably expect to receive profits based on the efforts of third parties

described in those public statements. Instead, the SEC appears to claim that anything available on

the Internet must have been considered by anyone who purchased tokens on the BAM platform. It

is telling that the SEC does not attribute the actual source for any of the websites it quotes in the

FAC. In at least two cases, the SEC attributes statements purportedly made as promotions to

investors about “Buyback and Burn” that are from fake news articles.32 Even those allegations that

quote from actual statements by individuals involved with the tokens offer nothing to suggest they

were viewed by buyers on BAM. Many of the Medium articles are from sites that have minimal

followers. 33 There can be no reasonable inference that a statement made on a website viewed by a

few hundred (or even tens of thousands) of people would have been considered by the


32
     Paragraph 740 alleges:
          Sky Mavis has at other times explicitly promoted an increase in the price of AXS through
          burning AXS. In announcing a “Buyback and Burn Promo Sale” in April 2023, the
          development team stated that “[w]hen AXS tokens are purchased from the buyback promo
          sales through the secondary market, AXS tokens are automatically burnt from the total
          supply which permanently reduces the number of AXS from circulation. This achieves a
          deflationary tokenomics model through the buyback promo program in order to boost
          liquidity, reduce volatility, and contribute to price appreciation.”
The FAC does not allege to whom the development announced this promotion or where they
obtained the statement. It comes from https://axieinifinity.medium.com/axie-infinity-buyback-
burn-sales-program-c15a506f1a6b. See Ex. 6. This is a fake account. The actual Axie Infinity
Medium page is https://axieinfinity.medium.com/. There is an errant “i” in “axieinifinity.”
https://axieinifinity.medium.com has a single post (the fake post about the buyback and burn that
never happened) and has 0 followers. Axie Infinity has never announced a burn or buyback
program for AXS.
The FAC makes the same false allegation with respect to SAND (¶ 655), again taking a quote from
another fake medium post, https://sand-burn.medium.com/sandbox-buyback-and-burn-sales-
program-20a579d5dc09. Ex. 7. https://sand-burn.medium.com has zero followers and only lists
the one fake article. The official Sandbox Medium page is https://medium.com/sandbox-game.
33
  For example, COTI’s medium page has less than 7000 followers and the posts identified have a
few dozen likes. According to the FAC, hundreds of thousands or millions of COTI coins were
sold per day. FAC ¶ 277; COTI, BAM (last accessed Oct. 18. 2024)
https://www.binance.us/price/coti (showing a daily volume of $7.85 Million).


                                                 25
  Case 1:23-cv-01599-ABJ-ZMF             Document 286         Filed 11/04/24      Page 34 of 54




numeroususers on BAM and thus something a reasonable purchaser would have relied upon before

transacting in a particular token. The Court need not accept vague assertions that statements were

made or that files exist on the Internet as well-pleaded allegations that purchasers reasonably relied

on those statements.

       The SEC is simply rehashing its embodiment theory – the promises and offers made to the

primary purchasers somehow travel with the crypto token through subsequent purchases and are

thus attributable to new buyers. But the crypto assets sold on BAM are just the assets themselves

– sales from unknown sellers to unknown buyers. Indeed, primary purchasers may sign purchase

agreements, have lock-up periods, purchase only the right to receive tokens in the future, or

purchase based on a promise and expectation that their funds would be pooled together to invest

in the common enterprise. See, e.g., FAC ¶¶ 454, 525. The FAC does not allege that any secondary

market purchasers encountered any such agreements or promises when transacting on BAM’s

platform.

       Without allegations that many, some, or even one investor on BAM’s platform encountered

the statements upon which the SEC relies, the SEC has not plausibly alleged that such statements

created an expectation of profits from others’ efforts. See, e.g., Salameh v. Tarsadia Hotel,

726 F.3d 1124, 1131-32 (9th Cir. 2013) (extra-contractual representations that were not made to

the purchasers before the sale were “irrelevant” and failed to state a claim). The SEC’s implication

that every single sale was necessarily the sale of an investment contract because promotional

materials (often from years earlier) were available online is insufficient to state a claim under the

Exchange Act.

       B.       The SEC Failed to Allege Sufficient Post-Sale Activities.

       Secondary sales must be analyzed differently from primary sales in this Circuit because of

the need for post-sale activities. Allegations about statements and conduct prior to listing on BAM


                                                 26
  Case 1:23-cv-01599-ABJ-ZMF            Document 286        Filed 11/04/24      Page 35 of 54




have limited value in assessing whether purchasers reasonably expected to profit from the efforts

of others. Life Partners I at 543, 549; Banner Fund at 606, 615. In analyzing the allegations as to

each crypto asset, the Court must consider what constitutes pre- and post-sale activities for each

sale. As shown in the below chart, each of the At-Issue Tokens was offered in a primary sale before

(often years before) being listed on BAM. See Ex. 1 (chart depicted below). Allegations for any

conduct post-sale are absent or woefully insufficient, so the secondary trading claims must be

dismissed.




                                                27
  Case 1:23-cv-01599-ABJ-ZMF             Document 286         Filed 11/04/24     Page 36 of 54




       C.      The SEC Failed to Allege Expectations of Profits Resulted Predominantly
               from the Efforts of Others.

       At the motion to dismiss stage, the SEC must include well-pleaded facts that the

post-purchase efforts of the promoters of the crypto asset will predominantly determine whether

the crypto asset is profitable. Life Partners I, 87 F.3d at 545–46; Life Partners II, 102 F.3d at 588

(internal quotations omitted). In Life Partners I, the court looked at what would actually affect the

value of the life insurance policies (how long the individual lived), not just what was said by

promoters. Life Partners I, 87 F.3d at 546-47. Yet the SEC has not alleged (even once) that the

value of the crypto assets depended at all on any of the third-party activities it alleges were

promised. Instead, the FAC simply includes identical allegations for each of the At-Issue Tokens

that (i) the assets’ promoters publicly disseminated information that led all purchasers to view

their assets “as an investment” and to “reasonably expect to profit from” the promoters’ efforts,

and (ii) BAM was “an integral part of the markets” for the assets and “fill[ed] these markets with

information republishing and amplifying the issuer and promoter statements and activity

promoting [the asset] as an investment.” See, e.g., FAC ¶¶ 492-513, 536, 541. These are “legal

conclusions cast as factual allegations,” and the Court need not accept them as true because they

are unsupported by the facts alleged. Sickle v. Torres Advanced Enter. Sols., LLC, 884 F.3d 338,

345 (D.C. Cir. 2018).

       Purchasers of crypto assets might expect pre-purchase efforts to affect the price of the

crypto asset – like the technology itself and getting the token listed on a platform for secondary

trading. But the SEC offers no plausible factual allegations that anything other than pre-purchase

efforts or the general market for crypto currencies would predominantly affect the price. More

detailed allegations regarding post-purchase efforts are required to sufficiently plead the existence

of an investment contract. See Noa v. Key Futures, Inc., 638 F.2d 77 (1980) (finding silver was



                                                 28
   Case 1:23-cv-01599-ABJ-ZMF            Document 286        Filed 11/04/24      Page 37 of 54




not an investment contract because even though various services were promised and promoted,

“[o]nce the purchase of silver bars was made, the profits to the investor depended upon the

fluctuations in the silver market, not the managerial efforts of Key Futures”); see also SEC v. Mut.

Benefits Corp., 408 F.3d 737, 744 n.5 (11th Cir. 2005) (finding Howey’s third prong not met “if

the realization of profits depends significantly on the post-investment operations of market forces”

beyond the control of the promoter). Post-launch and after the coin is already listed on an platform

(a necessary condition for any secondary sales on such a platform), there must be a reasonable

basis for investors to believe that profitability will depend on some future efforts. See Telegram I,

448 F. Supp. 3d at 370 (“profit was entirely dependent on the successful launch of the TON

blockchain”). None is offered. The SEC has failed to allege the expectation of profits due to the

efforts of others in any secondary sales and the claims must be dismissed.

III.   INDIVIDUAL ALLEGATIONS AS TO EACH CRYPTO ASSET FAIL.

       The SEC has offered little more than thin allegations that the original issuers offered the

At-Issue-Tokens as part of investment contracts. But these allegations are totally insufficient with

respect to sales on BAM, months or years later. The vast majority of the allegations pre-date the

tokens’ listing on BAM. See Ex. 1. For each At-Issue-Token, the FAC alleges that BAM

announced when they were available on its platform, provided general information about the assets

on its website (such as when they were created and how they can be used), and posted links to the

relevant network’s website and whitepaper (often without describing the contents of those

materials). The FAC’s remaining post-sale allegations consist of snippets – generally taken out of

context – from isolated tweets, press releases, and other Internet materials without alleging that

anyone reviewed them. In addition to reasons set forth above, the FAC fails to allege for the

At-Issue Tokens either an investment of money in a common enterprise or an expectation of profits

due to the efforts of others at the time of sale on BAM’s platform.


                                                 29
  Case 1:23-cv-01599-ABJ-ZMF            Document 286        Filed 11/04/24      Page 38 of 54




       A.      SOL

       SOL is the native token of the Solana blockchain, created in 2018 with a series of primary

sales between 2018 and March 2020 that offered purchasers the right to receive tokens in the future

and a promise that funds raised would be used to develop the blockchain. FAC ¶¶ 522-525. Solana

Labs conducted a subsequent primary sale in August 2021 and required purchasers to sign a

purchase agreement and promised that funds would be used to hire engineers and develop

applications on the Solana network, among other things. FAC ¶¶ 525-527.

       SOL was listed on BAM in September 2020. The FAC alleges that several announcements

were made when SOL was listed on BAM. FAC ¶¶ 544, 546. The SEC then mischaracterizes these

announcements as offering “an opportunity to increase the value of SOL,” but that is not actually

what they say. FAC ¶ 533. The actual announcement only states that “the community’s hard work

has driven significant value.” Id. This description applies to past (not future) behavior and, even

then, attributes the increase to the decentralized community that contributes to Solana, not Solana

Labs or the Solana Foundation. Id. This cannot establish a common enterprise.

       The announcement then talks about sharing “more of the genuinely great projects currently

underway” – not a promise of investment opportunity but, if anything, a use case. Id. There are no

allegations that anything BAM stated online conveyed any expectation that Solana would

undertake efforts to generate profits for SOL purchasers. The information that BAM posted about

Solana (and the other At-Issue Tokens) – background information about the asset and ecosystem

and links to the ecosystem’s website and whitepaper – is the exact information that BAM provides

to its customers about Bitcoin and Ether, crypto assets that the SEC has determined are not

securities when sold on the secondary market. See supra at 5 n. 9; Exs. 5 (BAM Bitcoin page) and

4 (BAM ETH page).




                                                30
  Case 1:23-cv-01599-ABJ-ZMF             Document 286        Filed 11/04/24      Page 39 of 54




       The only other statements that post-date trading of SOL on BAM either concern SOL’s

primary sales or have no relevance to whether SOL was offered as an investment contract on

BAM’s platform. The FAC selectively quoted from a June 2021 press release announcing that

Solana planned to use “investor funds” from a “sale of SOL” to, among other things, “help grow

[Solana’s] developer ecosystem.” FAC ¶ 527. But the “investors” were individuals and entities

who had already purchased SOL directly from Solana through “a private token sale” that “was

only made available to off-shore investors.” Ex. 8 (June 9, 2021 Solana Press Release). The SEC

attempted to obfuscate this point by twice deleting the word “private” before “sale of SOL” even

though the SEC described it as a “private sale” in the original Complaint. Dkt. 273-3, FAC ¶¶ 525,

527 (Redline Complaint). Whether these private sales were part of an investment contract, the

secondary sales on BAM were not.

       The FAC also claims that Solana undertook “promotional efforts” to increase demand for

SOL. FAC ¶ 539. But the only facts alleged are that Solana discussed its technical capabilities and

the network’s potential – not that it tied this to future value or as an investment opportunity. Id.

The SEC alleges Solana “burns” SOL tokens as part of a “deflationary model,” but these

allegations do not plausibly imply expectations of profits for investors. FAC ¶ 540. The FAC pled

that Solana burned SOL to “maintain” (not increase) its price. Id. And the actual announcement

by Solana about its burn mechanism explains the reason is to “sustain the network’s security”

because “burnt fees . . . help prevent malicious validators from censoring transactions.” Ex. 9 (Fees

on Solana page).

       B.      ADA

       ADA is the native token of the Cardano blockchain, created in 2015, with primary sales

between 2015-2017. FAC ¶ 547. ADA did not begin trading on BAM until four years after its

creation, in September 2019. FAC ¶ 552. The FAC’s allegations for ADA on BAM’s platform


                                                 31
     Case 1:23-cv-01599-ABJ-ZMF         Document 286        Filed 11/04/24      Page 40 of 54




focus principally on a single BAM blog post. FAC ¶ 559.34 The post does not state that ADA is

being sold “as an investment,” as the FAC alleges. Id. But even if it did, it does not convey it as

an “investment contract.” It simply encourages customers to “make a plan” before buying ADA

and to “research the market” as to what might “cause a price to rise or fall.” Id. This is the same

type of information BAM provides in connection with every commodity that trades on its platform,

such as BTC or ETH.35 It certainly does not establish an expectation of profits from others.

        Otherwise, the FAC alleges that entities responsible for Cardano posted information on

their website (to an unknown audience) or were discussed in news articles (with limited readership)

about how they would continue the improve the Cardano network – again, with no allegation that

this was tied to the profitability of the token or was a basis for an investment. FAC ¶ 556. These

statements do not include promises to undertake any activity on behalf of anyone, they are not

directed to secondary market purchasers, they do not mention secondary market transactions

involving ADA and merely reflect a plan to grow the Cardano network.

        C.     MATIC

        MATIC is the native token of the Polygon blockchain, created in 2017 with primary sales

beginning in 2018. It was not listed on BAM until June 2020. FAC ¶¶ 562-572. The FAC highlights

a BAM blog post from March 2021 in which one of Polygon’s founders, Sandeep Nailwal,

answered questions about MATIC. FAC ¶ 581. The SEC mischaracterizes the article as suggesting

the value of MATIC would increase over time. But that is not what Nailwal said. See Ex. 10.

Nailwal said that holders of MATIC could earn rewards by taking actions themselves and earning


34
 BAM’s blog post is dated July 15, 2024, and, thus, has no relevance to assessing whether ADA
was offered as an investment contract on BAM’s platform prior to that date.
35
   See, e.g., “What is Ethereum: Everything You Should Know,” Blog Post, BAM (March 17,
2023), https://blog.binance.us/what-is-ethereum/ (repeatedly recommending that customers
research the crypto market before making decisions regarding purchases of ETH).


                                                32
     Case 1:23-cv-01599-ABJ-ZMF         Document 286        Filed 11/04/24      Page 41 of 54




fees as a “validator.” Id. at 5. Although Nailwal suggested that the value of a Polygon token was

likely to increase over time, when specifically asked “[w]hy should an investor or person put their

own hard earned money into Polygon vs. other cryptos?,” he responded, “[t]o clarify, Polygon is

a utility token and is not an investment asset. The token is meant to provide access to the Polygon

blockchain applications.” Id. at 10. Polygon’s founder was plainly describing the consumptive

benefits of owning MATIC, not an opportunity for profit, and he disclaimed that MATIC should

be viewed as an investment. Opinion at 26 (citing Life Partners I, 87 F.3d at 543 (consumption

not basis of investment contract)). Otherwise, the SEC just alleges that BAM’s website linked to

Polygon’s website and whitepaper. FAC ¶ 583.

        The FAC claims that Polygon’s founders “regularly encouraged MATIC purchasers to

expect profits from Polygon’s efforts,” but then the FAC quotes from public statements that do not

say that. Polygon said it was developing its network and that the network was succeeding, not that

anyone should expect profits.36 The only statement in which MATIC’s price is mentioned is a tweet

in which MATIC’s founder said “I never talk about token price” and does not make any promise

that Polygon will do anything to increase MATIC’s price. FAC ¶ 575(a) (emphasis added).

        Finally, the FAC alleged that since January 2022, Polygon has “marketed” that it “burns”

MATIC tokens as a “deflationary effect,” and then concludes this must mean that MATIC led

purchasers to have a reasonable expectation of profit. FAC ¶ 578. However, Polygon’s actual

public statements reflect that the burning mechanism was imported from Ethereum, was automatic



36
  See FAC ¶ 575(b) (“[W]e are working around the clock on adoption and that’s why we are
currently the most adopted scaling infrastructure platform”); FAC ¶ 575(c) (“Polygon is top free
project in the industry when it comes to fundamentals, when it comes to adoption, and when it
comes to technology”); FAC ¶ 575(e) (“Polygon has grown exponentially”); See also FAC ¶ 576
(Polygon blog post titled “Accomplishments and Vibe Check after a Year of Building,” which
“described detailed changes to the network”).


                                                33
     Case 1:23-cv-01599-ABJ-ZMF           Document 286        Filed 11/04/24      Page 42 of 54




when transaction fees were paid, and that its purpose was to “allow users to better estimate costs,”

not generate profits. Ex. 11 (EIP-1559 Upgrades Are Going Live on Polygon Mainnet). Moreover,

Polygon estimated that the “annualized burn would represent 0.27% of the total MATIC supply.”

Id. No reasonable investor could possibly infer an expectation of future profits based on an annual

burn of 0.27%.

         D.      FIL

         FIL is the native asset of the Filecoin network, a storage network designed in 2014 to allow

holders of the tokens to utilize available storage space across a decentralized network of

computers. FAC ¶¶ 584-585. The developers conducted a fundraising round in 2017 that did not

involve the sale of FIL but rather the sale of an agreement for future delivery of tokens with a

vesting period in exchange for a discounted price and a promise that funds would be used to

develop the network. FAC ¶¶ 586-591, Ex. 12 (SEC registration form). FIL was not listed on BAM

until four years later in June 2021. FAC ¶ 594. Secondary traders on BAM do not buy and sell

what purchasers in 2017 bought – they anonymously trade the commodity FIL at a set price without

any promises about how funds will be used, agreement for future delivery, vesting periods or

discounts. See Ex. 2 (BAM Trading Rules explaining anonymous trading on BAM). For BAM, all

the FAC alleges is that BAM once tweeted that FIL increased in value. FAC ¶ 614. As discussed,

commodities markets regularly track and publicize which commodities performed better or worse

over various time periods.37 “Not every ‘profit making opportunity’ is an investment contract.”

SEC v. Binance Holdings Ltd., 2024 WL 3225974, at *26 (D.D.C. June 28, 2024). In fact, BAM’s

webpage “All About Filecoin (FIL),” which the FAC references (¶ 614) describes FIL as “a




37
     See, e.g., Ex. 14 (Top Commodity Gainers and Losers (babypips.com)).


                                                 34
     Case 1:23-cv-01599-ABJ-ZMF          Document 286        Filed 11/04/24      Page 43 of 54




decentralized storage network” and does not mention Protocol Labs or suggest in any way that

anyone would undertake efforts to increase FIL’s value. Ex. 12.

        Outside of the original primary offering (that itself explained that funds would be used to

create the file storage network, not increase profits38), the FAC alleges that Filecoin “implemented

a process to burn FIL tokens,” but not why Filecoin did so. FAC ¶ 607. Filecoin implemented a

burn mechanism to deter denial-of-service attacks on the network – not to increase the value of

FIL. Id.; Ex. 15 (technical specs for Filecoin explaining that rewards for miners can lead to

denial-of-service attacks and so “[i]n order to overcome this situation, the Filecoin blockchain

defines a BaseFee, which is burnt for every message”).

        E.     ATOM

        Atom is the native crypto asset of the Cosmos Hub, a blockchain developed in 2017 from

donations (not investments) solicited in 2017. FAC ¶¶ 618-630. Atom was listed on BAM two

years later, in October 2019. FAC ¶ 631. For BAM, the FAC simply alleges that BAM provided

information on ATOM’s performance that, as discussed, is the type of information provided by

any commodities market. FAC ¶ 640. Otherwise, the FAC alleges that BAM posted ATOM’s

whitepaper and links to its site without pointing to any statements from those posts that would

have led secondary market purchasers to reasonably expect profits from the efforts of others. Id.39

        The FAC then selectively quotes from several public statements by ICF and on Cosmos’s

website, which the FAC contended led secondary market purchasers to reasonably expect profits.


38
  For example, the FAC alleged that investor funds from the primary sales would be used to build
“a decentralized storage network”, suggesting that future token holders should not rely on
managerial efforts of Protocol Labs. FAC ¶¶ 598, 603-05 (emphasis added).
39
  The FAC’s allegations about ATOM’s ICO from years before its listing on BAM discuss using
the initial investors’ money to develop the Cosmos network – something that happened before the
token was listed on BAM. See FAC ¶¶ 622-629 (alleging, for example, that Cosmos disclosed how
investor funds were used (past tense) in 2019, prior to listing on BAM).


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  Case 1:23-cv-01599-ABJ-ZMF             Document 286          Filed 11/04/24    Page 44 of 54




FAC ¶¶ 634-35. These statements simply describe the growth and potential of the Cosmos

ecosystem and ICF’s “expertise in developing blockchain networks” and do not plausibly allege a

reasonable expectation of profits or reflect that ICF planned to do anything to increase ATOM’s

price in the future. FAC ¶¶ 634, 635(b), 635(e). Nor do the statements link ATOM’s value to any

efforts to develop the Cosmos ecosystem. See Opinion at 48. The only statement that even

referenced ATOM described it as a “staking token,” meaning it could be used by its holder to earn

staking rewards, not from the efforts of others, but from the protocol itself. FAC ¶ 635(e); see also

id. ¶ 621 (alleged that the Cosmos Whitepaper described ATOM as a “staking token” that “can

also be used to pay for transaction fees to mitigate spam”).

       F.      SAND

       SAND is a gaming token required to play videogames on Sandbox, a virtual gaming

platform first released in 2012 and now run by TSB Gaming (“TSB”). FAC ¶¶ 641-42. An initial

offering was held in 2019, a whitepaper was released in 2020, but SAND was not listed on BAM

until October 2022. FAC ¶¶ 643-646. For BAM, the FAC merely alleges that SAND has been

available on BAM’s platform since October 2022 and that BAM posted information on its website

about SAND, “including a pricing page.” FAC ¶ 662. These allegations fall far short of pleading

that SAND was offered as an investment contract through BAM. The only allegation for any time

period even discussing that SAND’s value might increase over time is from 2019 (three years

before it was sold by BAM) and suggests that the value will rise based on the characteristics of the

blockchain (scarcity) as opposed to the efforts of others. FAC ¶ 653 (TSB said a “feature” of

SAND “is that it can accrue in value over time” because it is scarce). FAC ¶ 653. Finally, the FAC

also alleged that TSB took steps to control the demand for SAND by announcing a burn and

buyback program on the Medium website in July 2023. FAC ¶ 655. As explained above, however,

this post was not made by TSB and is, in fact, fake. See supra n. 32.


                                                 36
     Case 1:23-cv-01599-ABJ-ZMF         Document 286        Filed 11/04/24     Page 45 of 54




          G.    MANA

          MANA is another gaming token that can be used, among other things, to buy virtual

property in Decentraland. FAC ¶¶ 663-64. Development started in 2015, an ICO was held in 2017,

but it was not listed on BAM until August 2020. FAC ¶¶ 663, 666, 687. As to BAM, the FAC

merely alleges that BAM provided the same general information about MANA that it provided for

all the commodities for sale on its site and hosted an “Ask Me Anything” or “AMA” event with

one of MANA’s developers. FAC ¶¶ 687-690. The FAC also alleges that BAM gave away MANA

to customers who “watched a short video and took a quiz about MANA.” FAC ¶ 686. Notably

missing are any allegations about the contents of the “project guide,” “short video,” “AMA event,”

or BAM’s website, or anything else that supports a plausible inference that MANA was offered as

an investment contract on BAM’s platform. There are no allegations that those materials included

statements about how purchasers could expect “profits” from MANA based on the efforts of others

or even that MANA should be viewed as an investment, rather than an asset for consumption. In

fact, BAM’s website page about MANA, which the FAC references but does not describe, states

that “[o]ne of the main features of the [Decentraland] platform is the ability to purchase land in

its virtual reality & build on it,” which users can only do by consuming MANA. Ex. 16 (emphasis

added).

          H.    ALGO

          ALGO is the native token of the decentralized Algorand blockchain in which a user’s

ability to influence the blockchain depends on the number of ALGO tokens they possess.40 FAC

¶ 691. The Algorand Foundation first began to raise equity in February 2018, 18 months before


40
    In 2019, Gary Gensler publicly praised the founder of Algorand’s blockchain and the
blockchain’s potential. See https://www.youtube.com/watch?v=2D3SbYzzJLc. This statement is
still publicly available.


                                               37
  Case 1:23-cv-01599-ABJ-ZMF              Document 286         Filed 11/04/24      Page 46 of 54




the token was listed on BAM. FAC ¶¶ 693, 707. Primary purchasers bought not just ALGO tokens

but the right to return those tokens for 90% of the original purchase price during two refund

windows. FAC ¶¶ 692-699. However, secondary purchases of ALGO only bought the ALGO

token itself – not the rights and offers made to the original purchasers such as the right to a refund.

FAC ¶¶ 696, 699.

       As to BAM, the FAC alleged that BAM posted general information about ALGO on its

website and conducted a “promotion . . . by tweeting trivia questions about ALGO that included

information about how it works, its history, and founder.” FAC ¶¶ 719-20, 722. There are no

alleged statements involving BAM’s platform reflecting ongoing obligations to deliver future

value or even representations that ALGO should be viewed as an investment for profit. In fact,

BAM’s website described ALGO as a “medium of exchange and store of value,” i.e., a currency,

which is how courts define bitcoin. See, e.g., United States v. Harmon, No. 19 Cr. 395 (BAH),

2021 WL 1518344, at *5 (D.D.C. Apr. 16, 2021) (“Bitcoin is . . . a medium of exchange, method

of payment, and store of value that falls under the definition of money.”).

       The SEC argues that Algorand Foundation and Algorand, Inc. publicly disseminated

statements that led those who purchased ALGO on the secondary market to view it as an

investment and to reasonably expect profits from the efforts of others. FAC ¶ 710. But the FAC’s

well-pleaded factual allegations do not support this conclusion. The post-ICO allegations focus on

earning awards based on one’s own efforts and agreeing to be a participant in the ecosystem –

rather than relying on the efforts of others promising returns. E.g., FAC ¶¶ 711-12 (describing

“participation rewards” for holding ALGO in an online wallet and “governance rewards” when

ALGO “holders vote on the future of Algorand”). The Algorand blockchain is decentralized and




                                                  38
  Case 1:23-cv-01599-ABJ-ZMF             Document 286        Filed 11/04/24      Page 47 of 54




controlled by the general holders of ALGO and not the creators of the blockchain who never

control more than 49% of governance. FAC ¶ 703.

       I.      AXS

       AXS is another gaming token, the native token of the Axie Infinity game (“Axie”), a

decentralized blockchain game that allows players to interact in a virtual world using digital pets.

FAC ¶ 723. Axie players can earn AXS by playing the game and can use AXS to make in-game

purchases. FAC ¶ 724. AXS was launched in 2018 and initial fundraising occurred in 2020. FAC

¶¶ 723-746. AXS was listed on BAM three years later, on November 11, 2021. FAC ¶ 743.

       The FAC alleges that BAM held an AMA with the Sky Mavis team and tweeted about it.

FAC ¶ 744. The FAC does not allege anything about what was said at the AMA and certainly does

not allege that Sky Mavis made any offers or promises to anyone purchasing AXS on BAM. The

FAC alleges BAM’s website posts information about AXS, including a project report about Axie

and a pricing page. FAC ¶ 746. The FAC does allege that Sky Mavis “explicitly promoted an

increase in the price of AXS through burning AXS.” FAC ¶ 740. However, as discussed, the FAC

based this claim on a posting from a scam website with a single subscriber pretending to be Axie

Infinity. See supra n. 32.

       J.      COTI

       COTI is the native token of the COTI ecosystem that provides a digital infrastructure for

payment solutions. FAC ¶ 747. The COTI whitepaper was published in October 2018 and COTI

stands for “currency of the internet.” Id.; Ex. 17. As the name suggests, COTI is described as a

currency, not an investment. Id. Primary sales to investors occurred in 2019 and included a

“Purchase Agreement” that included stating what the funds would be used for and requiring a

lockup period. FAC ¶¶ 749; 751 (describing purchase agreement); Ex. 18 (quoting from article

describing lockup period). Secondary sales on BAM did not begin until three years later in April


                                                39
  Case 1:23-cv-01599-ABJ-ZMF            Document 286        Filed 11/04/24     Page 48 of 54




2022 and secondary purchasers did not enter into any purchase agreements – any rights of the 2019

Purchase Agreements are not alleged to have transferred to the secondary purchasers. FAC ¶ 753.

        The allegations as to BAM simply allege that BAM announced trading and posted general

information about COTI on its website. FAC ¶¶ 773-775. BAM’s announcement that COTI was

available for trading did not even describe COTI as an investment, but as a token to be “used as a

medium of exchange for payments between COTI users and their respective customers, for staking,

and for paying transaction fees within the COTI ecosystem.” FAC ¶ 769; Ex. 19.

        The FAC then cites sporadic public statements by COTI representatives from either

COTI’s social media or Medium posts, without alleging that any purchasers on BAM ever saw

these articles, let alone so many that a reasonable purchaser of COTI on BAM would have relied

upon them. The statements themselves simply highlight that the COTI ecosystem reached certain

milestones, was growing, and was supported by a high-quality team; no one promised it was this

team that would increase the value of COTI in the future and certainly not based on any new

purchases of COTI. See, e.g., FAC ¶¶ 759-771. Publicly talking about a commodity’s value or

even its potential to increase in value does not transform the commodity into a security. The FAC

needed to plead that there was a transaction “in which investors were urged to put their money in

[the promoter’s] hands so that they could share in the return that [the promoter] would generate

through its managerial or entrepreneurial efforts.” Opinion at 52. There are no such allegations

here.

        K.     BNB

        This Court previously found the allegations of the SEC’s first complaint insufficient to

allege that BNB was sold in the secondary market as part of a security. Opinion at 37-43. The FAC

does not cure these deficiencies. BNB was launched in 2017 and sold to primary purchasers in

2017, two years before BAM existed. FAC ¶¶ 294, 340. BNB issued a whitepaper informing those


                                               40
  Case 1:23-cv-01599-ABJ-ZMF            Document 286        Filed 11/04/24      Page 49 of 54




initial investors how the proceeds of the ICO would be used but did not make any promises or

offers directed to secondary purchasers of BNB. FAC ¶¶ 302-304.

       The incredibly sparse allegations as to what BAM did and what was available on BAM’s

website in no way indicate that secondary purchasers of BNB on BAM purchased it as part of an

investment contract. The FAC alleged that BAM maintained a webpage about BNB with “BNB

Price Information” (¶ 368) and tweeted about pricing information (¶ 399), just as it did with every

commodity for sale on its site. Then the FAC alleges BAM tweeted about the use case for BNB –

fee discounts available to customers who held BNB on BAM’s platform. FAC ¶¶ 373, 399. These

were invitations to use BNB – not to invest into it. Opinion at 36. The FAC’s only other BAM-

specific BNB allegation is that on July 29, 2021, a former BAM executive stated that “increasingly

people are choosing to hold [BNB], rather than spend it for the discount because they found that

the increased value of the token as the company grows, exceeds the financial value of the

discounts” and, as a result, customers “want the company to succeed; their interests are aligned

with that of the company.” FAC ¶ 398. Contrary to the FAC’s characterization, BAM’s executive

did not “promote[]” that people “should and were buying BNB as an investment in Binance.” Id.

He observed only that some unspecified number of those who previously bought BNB were now

holding onto it because its value had increased. Observing that existing BNB holders’ and the

company’s interests were aligned does not mean future BNB holders would reasonably expect

profits from the company’s efforts. In any case, the FAC does not allege the Forbes interview was

shared with BAM customers or relied on by them.

       Otherwise, the SEC points to general statements by Zhao or Binance, without alleging any

BAM customers viewed such statements. For example, BNB changed its name to “Build and

Build” (FAC ¶ 353), Binance announced that it still is a large holder of BNB (FAC ¶¶ 358-360,




                                                41
  Case 1:23-cv-01599-ABJ-ZMF             Document 286        Filed 11/04/24      Page 50 of 54




362), and Binance discussed the benefits of holding BNB including the use of BNB (FAC ¶¶ 361,

366). As this Court previously noted, many of these statements support a finding of the

consumption rather than investment benefits of holding or using BNB. Opinion at 30-31. No

reasonable individual would objectively view Binance’s statements as suggesting an expectation

of profits from purchasing BNB on BAM’s platform. None of these alleged statements were

directed to secondary market purchasers, and many of them were made months or even years

before BAM existed. See, e.g., FAC ¶¶ 356, 381-89; see Aqua-Sonic Prods. Corp., 524 F. Supp.

866, 876 (S.D.N.Y. 1981) (explaining that the Court must consider the relevant circumstances “as

of the time that the transaction took place”). To be sure, the FAC alleged several statements in

which Binance or its executives stated that they will “grow” or promote the ecosystem and BNB

and that they expected BNB’s value to increase. See, e.g., FAC ¶¶ 386, 388, 393, 395-96. But these

statements do not reflect “actual commitments to perform specific services.” Happy Inv. Grp., 396

F. Supp. at 181. Even if they did, they would not establish a reasonable expectation of profits in

the context of secondary purchases of BNB on BAM’s platform.

       The SEC alleges a burn program for BNB but does not allege it was discussed on BAM.

FAC ¶¶ 374-379. This Court already considered that allegation and found it did not support a

finding that secondary sales were part of an investment contract. Opinion at 30, 43. In any case,

the SEC alleges that the burn program was announced prior to the formation of BAM, Zhao

promised that 50% of BNB would be burned over time and such promises were directed to the

initial primary purchasers of BNB. FAC ¶¶ 374-378. There may be a plausible inference that initial

purchasers of BNB viewed the facts that Binance created only 200 million BNB (with the supply

to increase) and that Binance would burn 50% of that total over time as likely to increase the value

of their investment. FAC ¶¶ 301, 304. However, any economic benefit of this was priced in from




                                                42
  Case 1:23-cv-01599-ABJ-ZMF             Document 286        Filed 11/04/24      Page 51 of 54




the beginning, so future buyers of BNB would not have believed this would lead to future profits.

FAC ¶¶ 374-375. The process of actually burning the tokens – pressing a few buttons on a

keyboard to divert tokens into an inaccessible account – could only be considered ministerial

efforts. See Life Partners I, 87 F.3d at 546-46. Had BNB announced a new plan to burn more than

the 50% previously promised, then perhaps purchasers could have reasonably expected profits in

the future. No such allegation is made here.

       L.      The SEC Failed to Allege Secondary Sales Here Constituted Investment
               Contracts.

       As discussed for each token, the SEC has failed to allege any secondary sale of a token was

sold as an investment contract. This is not to say that secondary market transactions of the At-Issue

Tokens or other crypto assets could never be part of an investment contract. Howey’s test looks to

the “economic reality” of each specific transaction and the promises and offers made. SEC v. W.J.

Howey Co., 328 U.S. 293, 398 (1946). A trading platform could provide specific assurances to its

users that a purchase of a token was a great investment and that the funds used would be pooled

and used in a common enterprise by third parties from whose future efforts profits would flow.

But the term investment contract does not encompass transactions as attenuated as those pled in

the FAC, where the only apparent relationship between the secondary market purchaser and the

asset’s creator is general public statements promoting the ecosystem and the potential for the

asset’s value to improve. Thus, the SEC’s secondary trading claims fail.

IV.    THE SEC FAILS TO STATE REGISTRATION CLAIMS AGAINST BAM.

       The Court previously determined that the SEC sufficiently alleged that BAM offered its

Staking Program as an investment contract. Opinion at 56. This allows Count Four to proceed (the

unregistered offer and sale of its Staking Program in violation of Sections 5(a) and 5(c) of the

Securities Act). However, the Staking Program alone cannot form the basis of a violation of Counts



                                                 43
     Case 1:23-cv-01599-ABJ-ZMF            Document 286         Filed 11/04/24       Page 52 of 54




Eight, Nine and Ten (the “Exchange Act Claims”) because the SEC does not allege that BAM

“effect[s] any transaction” in its Staking Program on the BAM platform.41 Instead, the FAC alleges

only that BAM’s Staking Program constituted an unregistered offer and sale of securities under 15

U.S.C. §§ 78e(a), (c). See FAC ¶¶ 455, 523-525, 798-809. In support of its Exchange Act Claims

against BAM, the FAC alleges that BAM’s facilitating secondary sales of the At-Issue Tokens

required BAM to register as an exchange, broker-dealer and clearing agency. FAC ¶¶ 535-543;

776-779. The FAC does not allege that BAM offers its Staking Program for purchase, sale or

trading on its platform such that it would independently require BAM to register as an exchange,

broker-dealer, or clearing agency under the Exchange Act. Id.

        The Court found that the SEC’s allegations concerning secondary sales of crypto assets

could not sustain the Exchange Act Claims because “the complaint does not include sufficient

facts to support a plausible inference that any particular secondary sales satisfy the Howey test

for an investment contract.” (Id. at 43) (bold added). The SEC subsequently filed its First Amended

Complaint (Dkt. 273) adding additional allegations on secondary sales. As discussed, the SEC has

still failed to allege sufficient facts to support that any secondary sales satisfy the Howey test. Thus,

Counts Eight, Nine and Ten against BAM must be dismissed.

        Additionally, while the Court found the SEC had made sufficient allegations for Count

Thirteen on fraud to proceed, the SEC actually espoused two separate theories of fraud – a fraud

on investors in BAM Trading (a claim that does not depend on whether secondary tokens were

traded as part of investment contracts on BAM’s platform) and a fraud on BAM’s customers on



41
  Count Eight alleges BAM failed to register BAM as an exchange in violation of 15 U.S.C. § 78e.
Count Nine alleges BAM failed to register as a broker for the BAM platform in violation of
15 U.S.C. § 78o(a). Count Ten alleges BAM failed to register as a clearing agency for the BAM
platform in violation of 15 U.S.C. § 78q-1(b).


                                                   44
  Case 1:23-cv-01599-ABJ-ZMF              Document 286       Filed 11/04/24      Page 53 of 54




the basis that BAM allowed wash trading to occur in COTI and other assets not alleged to be

securities. As discussed, COTI was not sold as part of an investment contract on BAM’s platform,

so the latter of the SEC’s fraud theories must fail.

       All of the SEC’s Exchange Act claims concerning third-party tokens should also be

dismissed because the SEC failed to join indispensable parties – namely, the parties allegedly

involved in the issuance of those tokens. See Fed. R. Civ. P. 12(b)(7); Rule 19. Joinder is not

feasible because none of these token issuers are based in the District of Columbia and so are not

subject to service of process here. See Cerebral Pal sy Ass’n of Nassau County, Inc. v. Cochran,

2021 WL 1037865, at *5 n.3 (D.D.C. Feb. 10, 2021). Dismissal, at least as to the claims associated

with each, is the appropriate remedy as proceeding would prejudice both defendants and the token

issuers, while the SEC can still proceed on each of its claims and each category of relief it seeks,

including with respect to secondary sales, because Binance (the issuer of BNB) is already a party.

See Rule 19(b).

                                          CONCLUSION

       None of the tokens listed on BAM were sold as securities. Counts Eight, Nine and Ten of

the FAC must be dismissed and the SEC should not be allowed to proceed on a theory that

secondary sales sold by BAM were sold as securities. Based on this Court’s prior Order, the SEC’s

case may proceed, for now, as to BAM with respect to Count Four for staking and Count Thirteen

for fraud as to the investors in BAM. For the foregoing reasons, and as the SEC has already been

given the opportunity to replead its secondary sales allegations, BAM’s Motion to Dismiss should

be granted with prejudice.




                                                 45
  Case 1:23-cv-01599-ABJ-ZMF           Document 286    Filed 11/04/24     Page 54 of 54




Dated: November 4, 2024                         Respectfully submitted,



/s/ Daniel J. Davis                             /s/ George S. Canellos

Daniel J. Davis (D.C. Bar #484717) (pro         George S. Canellos (pro hac vice)
hac vice)                                       Matthew J. Laroche (pro hac vice)
KATTEN MUCHIN ROSENMAN LLP                      MILBANK LLP
1919 Pennsylvania Ave NW                        55 Hudson Yards
Washington DC 20006                             New York, NY 10001
daniel.davis@katten.com                         GCanellos@milbank.com
                                                MLaroche@milbank.com
Christian T. Kemnitz (pro hac vice)
Levi Giovanetto (D.C. Bar #1001160) (pro        Attorneys for Defendants BAM Trading
hac vice)                                       Services Inc. and BAM Management
KATTEN MUCHIN ROSENMAN LLP                      Holdings US Inc
525 W. Monroe Street
Chicago, IL 60661
christian.kemnitz@katten.com
levi.giovanetto@katten.com

Attorneys for Defendants BAM Trading
Services Inc. and BAM Management
Holdings US Inc.
